   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 1 of 78 Page ID #:10




                             EXHIBIT 1

GCIU-Employer Retirement              Exhibit 1 to Complaint             Page 10
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 2 of 78 Page ID #:11




     GCIU-EMPLOYER
    RETIREMENT FUND

                  Trust Agreement
                       Effective January 1, 1976
            As Revised and Restated December 1, 2012


GCIU-Employer Retirement    Exhibit 1 to Complaint               Page 11
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 3 of 78 Page ID #:12




GCIU-Employer Retirement    Exhibit 1 to Complaint               Page 12
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 4 of 78 Page ID #:13




                                                 TABLE OF CONTENTS
     PREAMBLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .1
     ARTICLE I — DECLARATION OF TRUST . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2
                1. Name . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2
                2. Purpose         . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2
                3. Nature of Trust Fund . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2
                4. Duration of Trust Fund . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2
                5. Term of Trust Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2
     ARTICLE II — DEFINITIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .3
     ARTICLE III — THE TRUSTEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .5
                1. The Board of Trustees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .5
                2. Statutory Capacities of Trustees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .5
                3. Agents for Service of Process . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .5
                4. Number of Trustees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .5
                5. Alternate Trustees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .5
                6. Identity of Present Trustees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .6
                7. Appointment of Successor Employer Trustees . . . . . . . . . . . . . . . . . . . . . . . . 6
                8. Appointment of Successor Labor Organization Trustees . . . . . . . . . . . . . . . . 6
                9. Individuals Disqualified from Serving as Trustees . . . . . . . . . . . . . . . . . . . . .6
              10. Acceptance of Appointment by Trustees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
              11. Term of Appointment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .6
              12. Termination of Appointment by Appointing Entity . . . . . . . . . . . . . . . . . . . . 6
              13. Termination of Appointment for Failure to Attend Meetings . . . . . . . . . . . . 7
              14. Termination of Appointment for Conviction of a Crime                                        . . . . . . . . . . . . . . . .7
              15. Termination of Appointment for Mental Incapacity                                     ...................7
              16. Resignation of Appointment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .7
              17. Vacancies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .7
              18. Return of Books and Records . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .7




                                                                 —A—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                                                            Page 13
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 5 of 78 Page ID #:14




    ARTICLE IV — TRUST FUND ADMINISTRATION . . . . . . . . . . . . . . . . . . . . . . . . . 8
             1. Manner of Voting . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8
             2. Constitution of a Quorum . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8
             3. Proxies Prohibited . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8
             4. Regular Meetings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8
             5. Special Meetings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8
             6. Action without a Formal Meeting . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
             7. Failure of the Trustees to Agree—Arbitration . . . . . . . . . . . . . . . . . . . . . . . . 8
             8. Election of Officers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .9
             9. Duties of Officers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .9
            10. Authorized Signatures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .9
            11. Compensation and Expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .10
            12. Benefits to Trustees Not Prohibited . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
    ARTICLE V — PARTICIPATION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .11
             1. Bargaining Unit Employees Entitled to Participate                           . . . . . . . . . . . . . . . . . . .11
             2. Labor Organization Employees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .11
             3. Non-Bargaining Unit Employees of Participating Employers . . . . . . . . . . . 11
             4. Transferred Employees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .12
             5. Trust Fund Employees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .12
             6. Unauthorized Participation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .12
             7. Sole Proprietors and Partners Ineligible . . . . . . . . . . . . . . . . . . . . . . . . . . . . .12
             8. Participation of Non-Bargaining Unit Employees . . . . . . . . . . . . . . . . . . . . .12
    ARTICLE VI — TRUSTEE RESPONSIBILITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . .13
             1. General Duty - Receipt of Contributions and Administration of the Retirement
                Benefit Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13
             2. Compliance with the Internal Revenue Code . . . . . . . . . . . . . . . . . . . . . . . . 13
             3. Funding Standards . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13
             4. Basis of Payments to and from Trust Fund . . . . . . . . . . . . . . . . . . . . . . . . . . 13
             5. Application of Trust Fund Assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
             6. Fiduciary Standards . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .14


                                                           —B—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                                                  Page 14
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 6 of 78 Page ID #:15




              7. Deposits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .14
              8. Investments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .14
              9. Specifically Permitted Investments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
            10. Title to Investments and Other Assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
            11. Fidelity Bond . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .15
            12. Records . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .15
            13. Annual Audit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .15
            14. Annual Actuarial Statement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .16
            15. Plan Description              . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .16
            16. Annual Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .16
            17. Statements of Accrued Pension Benefits . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
            18. Pension Funding Notice . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
            19. Income Tax Withholding and Reporting . . . . . . . . . . . . . . . . . . . . . . . . . . . .17
            20. Documents to be Examined or Furnished . . . . . . . . . . . . . . . . . . . . . . . . . . .17
            21. Procedure for Establishing Funding Policy . . . . . . . . . . . . . . . . . . . . . . . . . .18
            22. Payments to Pension Benefit Guaranty Corporation                                    . . . . . . . . . . . . . . . . . .18
            23. Benefit Claim and Review Procedures . . . . . . . . . . . . . . . . . . . . . . . . . . . . .18
     ARTICLE VII — ALLOCATION OR DELEGATION OF TRUSTEE
                   RESPONSIBILITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .19
              1. Allocation of Responsibilities to Committees . . . . . . . . . . . . . . . . . . . . . . . . 19
              2. Delegation of Investment Responsibilities . . . . . . . . . . . . . . . . . . . . . . . . . . 19
              3. Delegation of Other Responsibilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
              4. Review of Performance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .20
     ARTICLE VIII - TRUSTEE POWERS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .21
              1. General Powers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .21
              2. Specific Powers Discretionary                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .21
              3. Benefit Plan Being Administered . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
              4. Amendments to the Benefit Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
              5. Means of Providing Benefits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .21
              6. Facility of Payment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .22


                                                              —C—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                                                        Page 15
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 7 of 78 Page ID #:16




           7. Administrative Manager . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .22
           8. Banking Services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .22
           9. Other Professional and Non-Professional Persons . . . . . . . . . . . . . . . . . . . . 22
          10. Obtaining of Necessary Premises, Equipment, and Supplies . . . . . . . . . . . 22
          11. Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .22
          12. Borrowing Money . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .23
          13. Reserve Funds . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .23
          14. Payment of Taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .23
          15. Refunds of Contributions Erroneously Paid . . . . . . . . . . . . . . . . . . . . . . . . . 23
          16. Penalties for False or Withheld Information . . . . . . . . . . . . . . . . . . . . . . . . . 23
          17. Correction of Errors . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .23
          18. Prosecution of Legal Actions or Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
          19. Defense of Legal Actions or Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
          20. Compromise of Legal Actions or Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
          21. Subscription and Participation Agreements . . . . . . . . . . . . . . . . . . . . . . . . . 24
          22. Participation in Non-Profit Educational Organizations . . . . . . . . . . . . . . . . 24
          23. Reciprocity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .24
          24. Mergers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .25
          25. Eligible Rollover Plan Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
          26. Interpretation and Application of Documents . . . . . . . . . . . . . . . . . . . . . . . 25
          27. Adoption and Implementation of a Funding Improvement Plan and
              Rehabilitation Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .25
    ARTICLE IX — CONTRIBUTIONS AND COLLECTIONS . . . . . . . . . . . . . . . . . . . 27
           1. Contribution Reporting Forms                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .27
           2. Contributions Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .27
           3. Contribution Due Date                 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .27
           4. Delinquent Contributions                 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .27
           5. Audit of Employer Books and Records . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
           6. Liquidated Damages, Attorneys Fees, Interest, and Other Charges . . . . . . . 28
           7. Additional Liquidated Damages in Event of Court Judgement . . . . . . . . . . 28


                                                          —D—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                                                      Page 16
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 8 of 78 Page ID #:17




              8. Waiver of Charges . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .28
              9. Protection of Employees in Cases of Delinquency . . . . . . . . . . . . . . . . . . . 28
             10. Coordination with Provisions in Collective Bargaining Agreements . . . . . 29
     ARTICLE X — EMPLOYER WITHDRAWAL LIABILITY . . . . . . . . . . . . . . . . . . . 30
              1. Calculation and Collection of Employer Withdrawal Liability . . . . . . . . . . 30
              2. Determination of Amount of Unfunded Vested Benefits Allocable
                 to Withdrawing Employer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .30
              3. Payment of Withdrawal Liability in Monthly Installments . . . . . . . . . . . . . 30
              4. Adoption of Administrative Rules and Regulations . . . . . . . . . . . . . . . . . . . 30
              5. Notice of Potential Withdrawal Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
     ARTICLE XI — BENEFIT CLAIM, HEARING AND ARBITRATION
                  PROCEDURES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .32
              1. Hearings Required . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .32
              2. Requests for Hearings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .32
              3. Conduct of Hearings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .32
              4. Hearing Rules . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .32
              5. Arbitration - Mandatory . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .32
              6. Benefit Claim and Review Procedures for a Participating Employee or
                 Beneficiary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
              7. Sole and Exclusive Remedies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .33
     ARTICLE XII — LIMITATIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .34
              1. Liabilities and Debts of Trust Fund . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .34
              2. Liabilities and Debts of Participating Parties . . . . . . . . . . . . . . . . . . . . . . . . .34
              3. Personal Liabilities of Trustees and Fiduciaries . . . . . . . . . . . . . . . . . . . . . .34
              4. Judgments against Trust Fund . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .34
              5. Participating Parties’ Rights . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .34
              6. Cessation of Participation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .35
              7. Protection of Trust Fund, Contributions, and Benefits . . . . . . . . . . . . . . . . 35
              8. Reliance upon Written Documents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35
              9. Agents of Trust Fund . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .35



                                                             —E—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                                                   Page 17
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 9 of 78 Page ID #:18




    ARTICLE XIII —MISCELLANEOUS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .36
              1. Trust Fund Offices . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .36
              2. Applicable Laws and Regulations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
              3. Notices . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .36
              4. Severability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .36
              5. Title—Words . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .36
              6. Information to be Furnished and Distributed . . . . . . . . . . . . . . . . . . . . . . . . 36
    ARTICLE XIV—AMENDMENTS AND TERMINATION . . . . . . . . . . . . . . . . . . . . 37
              1. Amendments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .37
              2. Termination . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .37
              3. Allocation upon Termination . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .37
    SIGNATORY PARTIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .39




                                                              —F—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                                                      Page 18
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 10 of 78 Page ID #:19




                                         PREAMBLE

          WHEREAS, the signatory parties (or their predecessors in interest) did previously
     execute a “Retirement Benefit Plan”, with an effective date of October 1, 1955, which
     document created and governed a joint labor-management employee pension benefit fund
     presently known as the
                                      GCIU — Employer
                                       Retirement Fund
                                             and
          WHEREAS, said document did also create an employee pension benefit plan present-
     ly known as the
                                     GCIU — Employer
                                   Retirement Benefit Plan
                                            and
         WHEREAS, said document was subsequently amended in several respects, and
          WHEREAS, said document was adopted in accordance with the applicable provi-
     sions of Section 302(c) of the Labor Management Relations Act of 1947 and applicable
     provisions of the Internal Revenue Code, and
          WHEREAS, the enactment of the Employee Retirement Income Security Act of 1974
     mandated the adoption of certain substantive changes in the documents governing employ-
     ee pension benefit funds and thus required amendment of the existing document, and
          WHEREAS, the Trustees have again determined to revise and restate the existing
     Trust Agreement so as to further take into account contemporary needs and conditions,
     including amendments which have been made since the September 1, 1999 revision,
          NOW THEREFORE, the Trustees and remaining signatory parties do hereby revise
     and restate the “Trust Agreement”, as follows:




                                            —1—
GCIU-Employer Retirement    Exhibit 1 to Complaint                               Page 19
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 11 of 78 Page ID #:20




                                      ARTICLE I
                                DECLARATION OF TRUST

    1.   Name
         The Trustees and the remaining signatory parties hereby reaffirm the declaration and
    establishment of a Trust Fund known as the
                                      GCIU — Employer
                                       Retirement Fund
         The Trustees may hold property, enter into contracts, and in all matters act on behalf
    of the Trust Fund in such name. The Trust Fund may sue or be sued in such name.
    2.   Purpose
         The purpose of the Trust Fund is to provide an entity to which contributions from par-
    ticipating employers can be paid and through which the Trustees can administer the
    GCIU—Employer Retirement Benefit Plan for the benefit of the participating employees
    for whom such contributions have been paid, and their beneficiaries.
    3.   Nature of Trust Fund
         The Trust Fund is a “trust” as contemplated by Section 302(c)(5) of the Labor
    Management Relations Act of 1947; a “trust” as contemplated by Section 401(a) of the
    Internal Revenue Code; and a “trust” as contemplated by Section 403(a) of the Employee
    Retirement Income Security Act of 1974. It is an entity separate and apart from the par-
    ticipating employers, employer associations, and labor organizations.
    4.   Duration of Trust Fund
         The Trust Fund shall continue in existence on an indefinite basis, contemporaneous-
    ly with the term of this Trust Agreement.
    5.   Term of Trust Agreement
         This revised and restated Trust Agreement shall be effective as of December 1, 2012,
    and shall continue indefinitely until such time as it may be terminated in accordance with
    the provisions of Article XIV hereof.




                                             —2—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                  Page 20
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 12 of 78 Page ID #:21




                                            ARTICLE II
                                           DEFINITIONS
          The following definitions shall govern in this Trust Agreement:
          1. “Beneficiary”—any person designated by a participating employee, under the terms
     of the Retirement Benefit Plan, to receive benefits, if any, upon the death of such participat-
     ing employee.
           2. “Collective bargaining agreement”—a written agreement between a participating
     employer and a participating labor organization, providing generally for wages, hours, and
     working conditions, by the terms of which the employer is obligated to make contributions
     to the Trust Fund on behalf of the bargaining unit employees covered by such an agreement.
           3. “Contributions”—the payments which a participating employer is obligated to
     make to the Trust Fund pursuant to the terms of a collective bargaining agreement, subscrip-
     tion agreement, or participation agreement.
          4. “Participating employee”—an individual employed by a participating employer and
     for whom that employer makes contributions to the Trust Fund, as allowed by the provisions
     of Article V, Sections 1, 2, 3, 4, and 5 and any individual who formerly was so employed and
     who has achieved vested or retired status under the terms of the Retirement Benefit Plan.
           5. “Participating employer”—any employing entity that is party to a collective
     bargaining agreement or subscription agreement with a participating labor organization, as
     allowed by the provisions of Article V, Section 1 hereof. An employing entity may be a sole
     proprietorship, partnership, unincorporated association, corporation, or joint venture; or the
     United States of America; or any state, county or municipality; or other public agency, pub-
     lic corporation, or governmental unit.
          A participating labor organization, or the Trust Fund, or any related trust fund, shall also
     be considered as a “participating employer” for the limited purpose of allowing the employ-
     ees of such entities to participate in the Trust Fund, as permitted by Article V, Sections 2 and
     5 hereof.
          6. “Participating employer association”—any employer association or multi-employer
     bargaining group that is party to a collective bargaining agreement with a participating labor
     organization, as allowed by the provisions of Article V, Section 1 hereof.
          7. “Participating labor organization”—Graphic Communications Conference of the
     International Brotherhood of Teamsters, and any local union, district council, joint district
     council, conference, or other bargaining agency affiliated with or represented by the
     Conference, that has entered into a collective bargaining agreement or subscription agree-
     ment with a participating employer or employer association, as allowed by the provisions of
     Article V, Section 1 hereof.
           8. “Participation agreement”—a written agreement, in a form approved by the
     Trustees, by the terms of which a participating employer is obligated to make contributions
     to the Trust Fund on behalf of the non-bargaining unit employees covered by such an agree-
     ment.
         9. “Pension benefits” or “employee pension benefits”—the pension and related
     benefits provided in the Retirement Benefit Plan.

                                                —3—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                       Page 21
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 13 of 78 Page ID #:22




         10.“Related trust fund”—an employee benefit trust fund, other than this Trust Fund,
    to which participating employers make contributions as required by collective bargaining
    agreements with participating labor organizations.
         11. “Retirement Benefit Plan”—The GCIU—Employer Retirement Benefit Plan as
    constituted on the effective date of this Trust Agreement and as hereafter amended.
        12. “Signatory parties”—the parties who have created this Trust Agreement and
    whose identities and signatures appear on the last page hereof and their successors. (See
    Note on page 40)
         13. “Subscription agreement”—a written agreement, in a form approved by the
    Trustees, by the terms of which a participating employer and participating labor organiza-
    tion subscribe to the terms and provisions of this Trust Agreement, and by the terms of
    which an employer is obligated to make contributions to the Trust Fund on behalf of the
    bargaining unit employees covered by such an agreement.
         14. “Trustees” or “Board of Trustees”—the Trustees of the Trust Fund and their suc-
    cessors.
        15. “Trust” or “Trust Fund”—the entity created by this Trust Agreement and all
    property and money held by such entity, including all contract rights and records.




                                            —4—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                 Page 22
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 14 of 78 Page ID #:23




                                         ARTICLE III
                                       THE TRUSTEES

     1.   The Board of Trustees
          The Trust Fund and the Retirement Benefit Plan shall be controlled and administered
     by a Board of Trustees composed of Employer Trustees and Labor Organization Trustees.
     2.   Statutory Capacities of Trustees
          For purposes of complying with Section 302(c)(5)(B) of the Labor Management
     Relations Act of 1947, the participating employers shall be represented, in the administra-
     tion of the Trust Fund, by the Employer Trustees; and the participating employees shall be
     represented by the Labor Organization Trustees.
          For purposes of complying with the various provisions of the Employee Retirement
     Income Security Act of 1974 the Trustees shall be considered as “named fiduciaries”,
     “fiduciaries”, the “plan administrator”, and the “plan sponsor”, as those terms are used in
     the Act.
     3.   Agents for Service of Process
           The Trustees shall also be considered as agents of the Trust Fund for the purpose of
     accepting service of legal process, provided that the Trustees may designate their admin-
     istrative manager, or another person, as agent of the Trust Fund for this purpose.
     4.   Number of Trustees
          There may be up to eighteen (18) Trustees, nine (9) of whom shall be Employer
     Trustees and nine (9) of whom shall be Labor Organization Trustees.
     5.   Alternate Trustees
          There may also be up to ten (10) alternate Trustees, five (5) of whom shall be alter-
     nate Employer Trustees and five (5) of whom shall be alternate Labor Organization
     Trustees.
          In the event any Employer Trustee is absent from any meeting of the Trustees he may
     designate an alternate Employer Trustee to serve in his place and stead. If the absent
     Employer Trustee fails to make such a designation, the Employer Trustees who are pre-
     sent at the meeting may designate an alternate Employer Trustee to serve in the place and
     stead of the absent Trustee.
          In the event any Labor Organization Trustee is absent from any meeting he may
     designate an alternate Labor Organization Trustee to serve in his place and stead. If the
     absent Labor Organization Trustee fails to make such a designation, the Labor
     Organization Trustees who are present at the meeting may designate an alternate Labor
     Organization Trustee to serve in the place and stead of the absent Trustee.
          The alternate Trustees, if any, shall be appointed in the same manner and retain such
     appointment under the same conditions as the regular Trustees. When designated to serve
     for a regular Trustee, and while serving, an alternate Trustee shall have all of the powers
     and responsibilities of a regular Trustee.


                                              —5—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                  Page 23
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 15 of 78 Page ID #:24




    6.   Identity of Present Trustees
        The regular and alternate Trustees serving as of the revised date of this Trust
    Agreement are:

         Employer Trustees                   Labor Organization Trustees
         Hugh Gaylord                        Edward A. Treacy
         Jim Janiga                          Stephen E. Northup
         Joseph Conley                       John D. Bachler
         Thomas E. Phillips                  George Tedeschi
         Tom Sarnecki
                                             Alternate Labor Organization Trustees
                                             Ralph Meers

    7.   Appointment of Successor Employer Trustees
         In the event of the termination of appointment, resignation, or death of an Employer
    Trustee, a successor Employer Trustee shall be appointed by unanimous action of the
    remaining Employer Trustees.
    8.   Appointment of Successor Labor Organization Trustees
          In the event of the termination of appointment, resignation, or death of a Labor
    Organization Trustee, a successor Labor Organization Trustee shall be appointed by unan-
    imous action of all of the signatory labor organizations. If any signatory labor organiza-
    tion fails, within sixty (60) days, to respond to a suggested appointment made by the other
    signatory labor organizations, that signatory labor organization will be deemed to have
    waived its rights to participate in or to contest the appointment.
    9.   Individuals Disqualified from Service as Trustees
         No individual who has been convicted of any of the crimes listed in Section 411(a)
    of the Employee Retirement Income Security Act of 1974 shall serve as a Trustee during
    the period of disqualification specified in the statute.
    10. Acceptance of Appointment by Trustees
         Each Trustee shall sign a document accepting his appointment as Trustee and agree-
    ing to abide by the terms and provisions of this Trust Agreement.
    11. Term of Appointment
         Each Trustee shall serve until termination of appointment, resignation, or death.
    12. Termination of Appointment by Appointing Entity
        The appointment of an Employer Trustee may be terminated, at any time, by unani-
    mous action of the remaining Employer Trustees.
        The appointment of a Labor Organization Trustee may be terminated, at any time, by
    unanimous action of all of the signatory labor organizations.
         The termination of a Trustee’s appointment shall be effective upon the termination
    date specified in a written notice of termination, executed by the group of appropriate
    Employer Trustees or signatory labor organizations. Any such notice shall be addressed to


                                             —6—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                  Page 24
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 16 of 78 Page ID #:25




     the Trustees and shall be mailed to the Trust Fund’s administrative office.
     13. Termination of Appointment for Failure to Attend Meetings
           The appointment of a Trustee shall be automatically terminated if such Trustee fails
     to attend three (3) consecutive meetings of the Trustees, without being excused from atten-
     dance by specific action of the remaining Trustees noted in the minutes. Alternate Trustees
     are exempt from this requirement.
     14. Termination of Appointment for Conviction of a Crime
          The appointment of a Trustee shall be automatically terminated if such Trustee is con-
     victed of any of the crimes listed in Section 411(a) of the Employee Retirement Income
     Security Act of 1974. If a Trustee who is so disqualified should continue to serve as a
     Trustee, in circumstances where the remaining Trustees have no knowledge of his dis-
     qualification, such service shall not invalidate any of the actions or decisions of the
     Trustees during the period of such service.
     15. Termination of Appointment for Mental Incapacity
          The appointment of a Trustee shall be automatically terminated if such Trustee is
     declared mentally incompetent by court decree.
     16. Resignation of Appointment
          A Trustee may resign his appointment at any time. Such resignation shall be effective
     upon the resignation date specified in a written notice of resignation. Any such notice shall
     be addressed to the Trustees and shall be mailed to the Trust Fund’s administrative office.
     17. Vacancies
          No vacancy in the position of Trustee shall impair the power of the remaining
     Trustees to administer the affairs of the Trust Fund so long as a quorum exists as specified
     in Article IV, Section 2 hereof.
     18. Return of Books and Records
           In the event of the termination of appointment, resignation, or death of a Trustee, the
     Trustee (or his legal guardian, heirs, or personal representative) shall, upon the request of
     the Chairman or the Secretary or of the administrative manager, forthwith turn over to the
     administrative manager, any and all records, books, documents, monies, and other prop-
     erty in the possession of the Trustee, or under his control, that belong to the Trust Fund or
     that were received by him in his capacity as Trustee.




                                               —7—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 25
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 17 of 78 Page ID #:26




                                    ARTICLE IV
                            TRUST FUND ADMINISTRATION
    1.   Manner of Voting
         Any action to be taken by the Trustees shall require a favorable vote by the Employer
    Trustees and by the Labor Organization Trustees, according to the unit method of voting.
    The Employer Trustees shall have but one vote among them (which shall be determined
    by a majority of the Employer Trustees present) and the Labor Organization Trustees shall
    have but one vote among them (which shall be determined by a majority of the Labor
    Organization Trustees present).
         Any Trustee including the Chairman or Secretary may offer or second any motion or
    resolution for the Trustees’ consideration. Any individual Trustee shall be entitled, upon
    request, to have his vote recorded in the official minutes.
    2.   Constitution of a Quorum
         To constitute a quorum at any meeting of the Trustees there must be present at least
    three (3) Employer Trustees, or duly designated alternates, and three (3) Labor
    Organization Trustees, or duly designated alternates.
    3.   Proxies Prohibited
         To encourage full attendance at meetings of the Trustees and due consideration of the
    matters being voted upon, there shall be no proxies. A Trustee must be present in order to
    cast a vote.
    4.   Regular Meetings
         The Trustees shall hold regular periodic meetings consistent with the needs of Trust
    Fund business, provided that there shall be at least two (2) regular meetings held during
    each calendar year. The Trustees shall determine the time and place of all such meetings.
    5.   Special Meetings
         Either the Chairman or the Secretary or any two (2) Trustees (one Employer and one
    Labor Organization Trustee) may call a special meeting of the Trustees by giving written
    notice to all the other Trustees of the time and place of such meeting, at least thirty (30)
    days before the date set for the meeting, provided that thirty (30) days advance notice shall
    not be necessary if all Trustees are agreeable to an earlier meeting.
    6.   Action without a Formal Meeting
         The Trustees may take action without a formal meeting by means of the presentation
    of a written motion or resolution sent to all Trustees by the administrative manager and the
    subsequent obtaining of Trustee votes on the motion or resolution in letters, by email, or
    by facsimile transmission sent by each Trustee to the administrative manager. Any such
    action shall be reported in the minutes of the next formal meeting.
    7.   Failure of the Trustees to Agree—Arbitration
         In the event the Employer Trustees and Labor Organization Trustees should deadlock
    on any matter submitted for their consideration, the dispute may be referred by either
    group of Trustees to an impartial arbitrator in accordance with the labor arbitration rules
    of the American Arbitration Association. A deadlock shall be deemed to occur when there

                                              —8—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 26
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 18 of 78 Page ID #:27




     is a tie vote on any motion before the Trustees.
           The Trustees shall attempt to agree on the joint submission of a statement of the issue
     in dispute. However, if the Trustees cannot jointly agree upon such a statement, each group
     of Trustees shall submit to the arbitrator, in writing, its version of the issue in dispute. As
     part of his award, the arbitrator shall state his determination as to the exact issue.
          The decision and award of the arbitrator shall be final and binding upon the
     Trustees and upon all parties whose interests are affected thereby.
           The expenses of any such arbitration, including any court proceedings relating there-
     to, and the fee of the arbitrator and the reasonable attorney’s and witness fees of the par-
     ties, shall be chargeable to the Trust Fund.
           The procedure specified in this Section shall be the sole and exclusive procedure
     for the resolution of deadlocked issues.
     8.   Election of Officers
           The Trustees shall elect a Chairman, Vice-Chairman, Secretary and Assistant
     Secretary. Two of these officers shall be Employer Trustees and two shall be Labor
     Organization Trustees. When the Chairman is an Employer Trustee, the Vice-Chairman
     shall also be an Employer Trustee; when the Secretary is a Labor Organization Trustee, the
     Assistant Secretary shall also be a Labor Organization Trustee, or vice-versa.
          The officers shall hold office indefinitely, provided that at the first regular meeting in
     each odd numbered year, either the Employer Trustees or the Labor Organization Trustees
     may obtain, on their request, a rotation of all offices and a new election of all officers.
           An officer may resign his office at any time. Such resignation shall be effective upon
     the resignation date specified in a written notice of resignation. Any such notice shall be
     addressed to the Trustees and shall be mailed, emailed or faxed to the Trust Fund’s admin-
     istrative office. In case of the resignation, death, or termination of appointment of either
     the Chairman or the Secretary, there shall be a new election of all offices. In case of the
     resignation, death, or termination of appointment of either the Vice-Chairman or the
     Assistant Secretary, there shall be a new election of that office only.
     9.   Duties of Officers
          The Chairman shall chair the meetings of the Trustees, shall appoint all committees
     and shall carry out such other duties as the Trustees may assign to him. The Vice-
     Chairman, in the absence of the Chairman, shall act in place of the Chairman and perform
     the Chairman’s duties.
          The Secretary shall advise the Trustees as to all correspondence and financial reports
     pertaining to the Trust Fund and shall keep minutes or records of all meetings, proceed-
     ings, and actions of the Trustees, provided that these particular responsibilities may be del-
     egated to the administrative manager or to other professional persons retained by the
     Trustees. The Assistant Secretary, in the absence of the Secretary, shall act in place of the
     Secretary and perform the Secretary’s duties.
     10. Authorized Signatures
          The Chairman or the Vice-Chairman, and the Secretary or the Assistant Secretary,
     shall sign all negotiable instruments, certificates, contracts, government reports, and other


                                                —9—
GCIU-Employer Retirement    Exhibit 1 to Complaint                                      Page 27
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 19 of 78 Page ID #:28




    legal documents on behalf of the Trust Fund, provided that the authority for signing nego-
    tiable instruments may be delegated to the administrative manager, corporate trustee (if
    any), depository bank, or custodian bank. All persons doing business with the Trust Fund
    may rely on such signatures.
          If the Trust Fund issues benefit checks to participating employees or their beneficia-
    ries, the signatures of the Chairman and Secretary may be affixed thereto by a facsimile
    signature device, under safeguards determined by the Trustees.
    11. Compensation and Expenses
         No Trustee shall receive any compensation from the Trust Fund for services as a
    Trustee.
          Each Trustee (and each alternate Trustee who is called upon to substitute for an
    absent Trustee) shall be reimbursed out of the Trust Fund for all expenses properly and
    actually incurred by him in the administration of the Trust Fund. The Trustees shall estab-
    lish the conditions for the reimbursement of expenses.
    12. Benefits to Trustees Not Prohibited
         Nothing in this Trust Agreement shall prohibit a Trustee from receiving any benefits
    under the terms of the Retirement Benefit Plan, if he is otherwise eligible for the same as
    a participating employee or as a beneficiary of a participating employee.




                                            — 10 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                   Page 28
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 20 of 78 Page ID #:29




                                           ARTICLE V
                                         PARTICIPATION
     1.   Bargaining Unit Employees Entitled to Participate
          Employees in bargaining units covered by collective bargaining agreements between
     employers and employer associations in the printing and paper products industry and the
     Graphic Communications Conference of the International Brotherhood of Teamsters, or
     any local union, district council, joint district council, conference or other bargaining
     agency affiliated with, merged with, or represented by the Conference, shall be entitled to
     participate in this Trust Fund.
           The Trustees, however, shall have the authority to decline or terminate the participa-
     tion of a particular bargaining unit if (a) the bargaining parties fail to provide the Trustees
     with a copy of their collective bargaining agreement or if the language of the contribution
     provision in such agreement does not meet the requirements of the Trustees, provided that
     the Trustees, in their discretion, may accept a subscription agreement in lieu of, or to sup-
     plement, a collective bargaining agreement; (b) the negotiated contribution rate is lesser,
     or greater, than the contribution rate or rates allowable under the terms of the Retirement
     Benefit Plan, provided that the Trustees, in their discretion, may accept the different rate
     and establish different eligibility rules or benefit formulas for the bargaining unit employ-
     ees affected; (c) to allow participation as requested would violate any established rule, pol-
     icy, or procedure governing participation in the Trust Fund; or (d) there exist other facts
     and circumstances which, in the Trustees’ discretion, justify a declination or termination
     of participation.
     2.   Labor Organization Employees
          Employees of a participating labor organization may participate in the Trust Fund,
     provided that the labor organization executes a participation agreement by the terms of
     which it agrees to make contributions to the Trust Fund on behalf of such employees.
          The rate at which the labor organization makes contributions to the Trust Fund shall
     not exceed the highest negotiated rate in the geographical area encompassed by that labor
     organization.
     3.   Non-Bargaining Unit Employees of Participating Employers
          Non-bargaining unit employees of a participating employer may participate in the
     Trust Fund, provided that the employer executes a participation agreement by the terms of
     which it agrees to make contributions to the Trust Fund on behalf of such employees. The
     contribution rate for nonbargaining unit employees shall be a monthly rate equivalent to
     that which the participating employer is required to pay for its bargaining unit employees.
     Contributions must be paid on all employees falling within an appropriate group as fol-
     lows:
          Group A—Office clerical employees. All office clerical employees at a particular
     establishment must be considered as a group and the employer must make contributions
     for all office clerical employees within such group.
          Group B—Managerial employees/business agents/officers. All managerial employ-
     ees, business agents and officers at a particular establishment must be considered as a

                                               — 11 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                      Page 29
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 21 of 78 Page ID #:30




    group and the employer must make contributions for all employees within such group.
    Further, no contributions shall be accepted for a managerial employee, business agent or
    officer group unless the employer also contributes for the remaining employees at that
    establishment.
         Group C—Foremen and superintendents of printing department. All non-contract
    foremen and superintendents of the printing department at a particular establishment must
    be considered as a group and the employer must make contributions for all foremen and
    superintendents in such group.
        Group D—Other non-bargaining groups. The Trustees may recognize and allow other
    groups of non-bargaining unit employees to participate, as they may determine.
    4.   Transferred Employees
         Individual participating employees who may be transferred from a bargaining unit
    position to a non-bargaining unit position at a particular establishment may continue to
    participate in the Trust Fund, provided that the participating employer makes contributions
    for all such employees. The contribution rate for transferred employees shall be a month-
    ly rate equivalent to that which the participating employer is required to pay for its bar-
    gaining unit employees.
    5.   Trust Fund Employees
         Employees of the Trust Fund (if any), or of a related trust fund may participate in the
    Trust Fund, provided that the Trustees authorize such participation. The cost of such par-
    ticipation shall be chargeable to the Trust Fund or to the related trust fund.
    6.   Unauthorized Participation
         The only individuals who are eligible to participate in and receive benefits from the
    Trust Fund shall be those employees in the bargaining units and other groups described in
    Sections 1, 2, 3, 4, and 5 above. It is expected that participating employers will submit
    contributions only on behalf of such employees. The receipt by the Trust Fund of contri-
    butions which may be submitted on behalf of individuals who are not eligible to partici-
    pate shall not stop the Trustees from declining or terminating the participation of such
    individuals nor shall it constitute a waiver of any of the provisions of this Article or of the
    Retirement Benefit Plan.
    7.   Sole Proprietors and Partners Ineligible
         Sole proprietors and partners are not to be considered as participating employees and
    shall not be eligible to participate in and receive benefits from the Trust Fund.
    8.   Participation of Non-Bargaining Unit Employees
         It is intended that the participation of groups described in Sections 2, 3, 4 and 5 above
    (and the resulting coverage under and benefits from this Retirement Benefit Plan) will be
    in accordance with the non-discrimination laws contained in the Tax Reform Act of 1986
    and the Technical and Miscellaneous Revenue Act of 1988 and any amendments or regu-
    lations issued subsequent thereto, to the extent such laws and regulations are applicable to
    this Trust Fund and the Retirement Benefit Plan. Any omissions or oversights will be
    resolved in accordance with the applicable laws and regulations.



                                              — 12 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                      Page 30
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 22 of 78 Page ID #:31




                                      ARTICLE VI
                               TRUSTEE RESPONSIBILITIES
     1.   General Duty—Receipt of Contributions and
          Administration of Retirement Benefit Plan
          It shall be the general duty of the Trustees to receive the employer contributions and
     any other income or assets which they may obtain and, with such, to administer the
     Retirement Benefit Plan.
          Additionally, the Trustees shall have the specific duties set forth in this Article and
     such other duties as are imposed upon them by Section 302(c) of the Labor Management
     Relations Act of 1947, the Employee Retirement Income Security Act of 1974, and other
     applicable laws.
     2.   Compliance with the Internal Revenue Code
          The Trustees shall administer the Trust Fund and the Retirement Benefit Plan so that,
     to the extent allowed in the Internal Revenue Code, employer contributions are tax
     deductible and the Trust Fund is tax-exempt.
     3.   Funding Standards
           The Trustees, with the assistance of their enrolled actuary, shall establish and main-
     tain a funding standard account, as required by Section 304(b)(l) of the Employee
     Retirement Income Security Act of 1974, for the purpose of determining that the
     Retirement Benefit Plan remains actuarially sound according to the funding standards
     imposed by such Act. The funding standard account shall be reviewed by the Trustees at
     least once each year and on occasions when the Trustees are considering amendments to
     the Retirement Benefit Plan which involve an actuarial cost.
          The Trustees shall administer the Trust Fund and the Retirement Benefit Plan so that,
     to the extent such is reasonably within their control, the Plan does not accrue an uncorrect-
     ed “accumulated funding deficiency”, as defined in Section 304(a) of the Employee
     Retirement Income Security Act of 1974. If it should be determined that an “accumulated
     funding deficiency” has accrued or will accrue, such deficiency may be corrected by the
     participating employers and labor organizations, through an adjustment in the amount of
     contributions, or by the Trustees, through an amendment of the Retirement Benefit Plan
     adjusting the level of benefits.
          The foregoing provision shall not be interpreted as a guarantee that the Retirement
     Benefit Plan will never accrue an uncorrected “accumulated funding deficiency” or as an
     indemnification on the part of the Trustees as to any liability which may be imposed upon
     a participating employer with respect to such deficiency under the applicable provisions
     of such Act or the Internal Revenue Code.
     4.   Basis of Payments to and from Trust Fund
          The basis on which the employer contributions are made to the Trust Fund shall be
     as specified in the underlying collective bargaining agreement, subscription agreement or
     participation agreement. The basis on which benefits are paid out of the Trust Fund shall
     be as specified in the Retirement Benefit Plan.


                                              — 13 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 31
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 23 of 78 Page ID #:32




    5.   Application of Trust Fund Assets
         As required by Section 403(c)(l) of the Employee Retirement Income Security Act of
    1974, the assets of the Trust Fund shall never inure to the benefit of any participating
    employer and shall be held for the exclusive purposes of providing benefits to participat-
    ing employees and their beneficiaries and defraying reasonable administrative expenses.
    6.   Fiduciary Standards
         As required by Section 404(a)(l)(A) and (B) of the Employee Retirement Income
    Security Act of 1974, the Trustees shall discharge their duties and administer the Trust
    Fund assets solely in the interest of the participating employees and their beneficiaries and
    for the exclusive purpose of (a) providing benefits to participating employees and their
    beneficiaries and (b) defraying reasonable expenses of benefit plan administration.
         In carrying out their duties the Trustees shall act with the care, skill, prudence, and
    diligence under the circumstances then prevailing that a prudent man acting in a like
    capacity and familiar with such matters would use in the conduct of an enterprise of a like
    character and with like aims.
    7.   Deposits
          The Trustees shall deposit the contributions or any other monies which they may
    receive, in one or more banks or similar financial institutions supervised by the United
    States or a state, pending the allocation of such monies for the payment of current bene-
    fits and expenses, or for investment.
    8.   Investments
         The Trustees shall invest all contributions or other monies not required for the pay-
    ment of current benefits and expenses. The Trustees may invest and reinvest in bank
    accounts, savings and loan accounts, securities, mortgages, deeds of trust, notes, commer-
    cial paper, real estate, insurance contracts, and in such other property, real, personal, or
    mixed, as they deem prudent provided that in the making of investments the Trustees shall
    diversify such investments as required by Section 404(a)(l)(C) of the Employee
    Retirement Income Security Act of 1974 so as to minimize the risk of large losses, unless
    under the circumstances it is clearly prudent not to do so. Further, no investment shall be
    made which would constitute a “prohibited transaction” within the meaning of Section 406
    of such Act, provided that the Trustees shall have the authority to apply to the Secretary
    of Labor for a conditional or unconditional exemption from any of the “prohibited trans-
    action” rules, as they may deem necessary.
    9.   Specifically Permitted Investments
         In the event the Trustees designate one or more banks or similar financial institutions
    supervised by the United States or a state to serve as custodian of the trust assets, or as a
    corporate co-trustee, or in another fiduciary capacity, the monies belonging to the Trust
    Fund may be invested in the accounts of such bank or institution, provided that such
    accounts bear a reasonable interest rate.
          Further, to the extent allowed by law, the monies of the Trust Fund may be invested
    in (a) a common or collective trust fund or pooled investment fund maintained by a bank
    or trust company supervised by the United States or a state or (b) in a pooled investment
    fund of an insurance company, or (c) in a group trust sponsored by a qualified investment

                                              — 14 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 32
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 24 of 78 Page ID #:33




     manager as that term is defined in Section 3(38) of the Employee Retirement Income
     Security Act of 1974, even though such bank, trust company, insurance company, or
     investment manager is a party-in-interest as that term is designated in Section 3(14) of the
     Employee Retirement Income Security Act of 1974, provided that the bank, trust compa-
     ny, insurance company, or investment manager receives not more than reasonable com-
     pensation for managing such an investment.
           Finally, to the extent permitted by law, the monies of the Trust Fund may also be
     invested in certain alternative investments, including, but not limited to, REITS, private
     equity funds, infrastructure funds, and instruments comprising risk parity and real return
     strategies, subject to the investment criteria set out in Section 8 above.
     10. Title to Investments and Other Assets
          Title and voting rights to all investments or other assets of the Trust Fund shall be
     maintained in the name of the Trust Fund provided that for convenience in transferring
     securities, title and voting rights to such securities may be held in the name of the Trust
     Fund’s custodian bank, or of its nominee.
          Except as may be authorized by regulation of the Secretary of Labor the indicia of
     ownership of all investments and other assets of the Trust Fund shall not be maintained
     outside the jurisdiction of the district courts of the United States.
     11. Fidelity Bond
          The Trustees shall procure a fidelity bond in the amount required by Section 412 of
     the Employee Retirement Income Security Act of 1974 covering the Trustees, the
     administrative manager, and all other persons who receive, handle, disburse, or otherwise
     exercise custody or control of any of the funds or other property of the Trust Fund. The
     cost of such bond shall be chargeable to the Trust Fund.
     12. Records
          The Trustees shall maintain records of their administration of the Trust Fund and the
     Retirement Benefit Plan, including records of all receipts and disbursements, all invest-
     ments purchased or sold, all participating employee listings, all minutes of Trustee meet-
     ings, and all correspondence. No such record shall be destroyed except upon the specific
     action of the Trustees and destruction shall not be directed until a period of eight (8) years
     has elapsed from the date the record was created, unless some additional period is required
     by law.
     13. Annual Audit
           The Trustees shall engage, on behalf of the participating employees and their benefi-
     ciaries, an independent qualified public accountant as that term is defined in Section
     103(a)(3)(D) of the Employee Retirement Income Security Act of 1974 and shall autho-
     rize such accountant to conduct an annual financial examination of the Trust Fund, as
     required by Section 103(a)(3)(A) of such Act, and such other examinations as the Trustees
     may deem necessary. The cost of such examinations shall be chargeable to the Trust Fund.
          A statement of the results of each annual examination shall be submitted to the
     Trustees for their review and, further, shall be made part of the Trust Fund’s annual report.




                                              — 15 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                     Page 33
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 25 of 78 Page ID #:34




    14. Annual Actuarial Statement
         The Trustees shall engage, on behalf of the participating employees and their
    beneficiaries, an enrolled actuary, as that term is defined in Section 103(a)(4)(C) of the
    Employee Retirement Income Security Act of 1974, and shall authorize such actuary to
    prepare an annual actuarial statement as to the Retirement Benefit Plan, as required by
    Section 103(d) of such Act. The cost of such statement shall be chargeable to the Trust
    Fund.
         The annual actuarial statement shall be submitted to the Trustees for their review and,
    further, shall be made part of the Trust Fund’s annual report.
         The enrolled actuary shall also be authorized to conduct an annual actuarial valuation
    as required under Section 304(c)(7) of such Act.
    15. Summary Plan Description
          The Trustees shall furnish to the Department of Labor, upon request, any documents
    related to the employee benefit plan, including but not limited to the latest summary plan
    description, and any modifications or changes in the information contained in such
    description, as required by Section 104(a)(6) of the Employee Retirement Income Security
    Act of 1974.
         The Trustees shall also furnish to participating employees and to each beneficiary receiv-
    ing benefits copies of the summary plan description and copies of any modifications or
    changes in the information in such description, as required by Section 104(b)(l) of such Act.
    16. Annual Report
         The Trustees shall prepare and file with the Department of Labor an annual report as
    required by Sections 104 and 4065 of the Employee Retirement Income Security Act of
    1974 as amended. The Trustees shall also furnish a report to participating employers and
    the participating labor organizations within 30 days after the due date for filing of the
    annual report that contains the summary plan information set forth under Section 104 (d)
    of such Act. In no case shall a participating employer or participating labor organiza-
    tion be entitled to receive more than one copy of any such document described in Section
    104(d) of the Act during any one 12-month period. The Trustees may impose a reasonable
    charge to cover copying, mailing, and other costs of furnishing copies of the required
    information.
    17. Statements of Accrued Pension Benefits
          As required by Section 105(a)(1)(B) of the Employee Retirement Income Security Act
    of 1974, the Trustees shall furnish a pension benefit statement at least every 3 years to each
    participating employee with a nonforfeitable accrued benefit and who is employed by a par-
    ticipating employer at the time the statement is to be furnished, and to a participating
    employee or beneficiary upon written request. The pension benefit statement shall indicate,
    on the basis of the latest information available, (a) the total benefits accrued and (b) the non-
    forfeitable pension benefits, if any, which have accrued, or the earliest date on which ben-
    efits will become nonforfeitable. Such statements may be delivered in written, electronic,
    or other appropriate form to the extent such form is reasonably accessible to the participat-
    ing employee or beneficiary. Alternatively, the Trustees may comply with the requirements
    of Section 105 (a) (1) (B) of such Act by providing at least once a year to participating


                                               — 16 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                        Page 34
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 26 of 78 Page ID #:35




     employees notice of the availability of the pension benefit statement and the ways in which
     the participating employee may obtain such statement. Such notice may be delivered in
     written, electronic, or other appropriate form to the extent such form is reasonably accessi-
     ble to the participating employee. In no case shall a participating employee or beneficiary
     be entitled to more than one pension benefit statement in any 12-month period.
          In addition, the Trustees shall furnish to each participating employee who during the
     Plan Year separates from service covered by the Benefit Plan, who is entitled to a deferred
     vested benefit under the Benefit Plan as of the end of such Plan Year, and with respect to
     whom retirement benefits were not paid under the Benefit Plan during such Plan Year, a
     statement describing the nature, amount and form of the deferred vested benefit to which
     such participating employee is entitled. Such statement shall also include a notice to the
     participating employee of any benefits which are forfeitable if the participant dies before
     a certain date. The Trustees shall also file an annual registration statement with the Internal
     Revenue Service concerning participating employees to whom such statements have been
     issued, as required by Section 6057 of the Internal Revenue Code.
     18. Pension Funding Notice
           The Trustees shall provide an annual pension funding notice to the Pension Benefit
     Guaranty Corporation, to each participating employee and beneficiary, to the participating
     labor organization, and to each participating employer. The notice shall contain the specific
     information required for multiemployer plans as set forth under Section 101(f)(2) of the
     Employee Retirement Income Security Act of 1974 and shall be provided to the applicable
     parties not later than 120 days after the end of the Plan Year to which the notice relates. Such
     notice may be provided in written, electronic, or other appropriate form to the extent such
     form is reasonably accessible to persons to whom the notice is required to be provided.
     19. Income Tax Withholding and Reporting
           The Trustees (or their duly appointed custodian bank) shall annually provide each
     retired employee or beneficiary receiving benefits with notice of the right to elect against
     withholding of income tax from his pension benefits and the right to revoke such election
     as required by Section 3405 of the Internal Revenue Code.
           The Trustees shall also furnish to each retired employee or beneficiary receiving ben-
     efits an annual statement of the benefits paid to him, as required by Section 6051 (a) of
     such Code.
     20. Documents to be Examined or Furnished
           The Trustees shall make copies of (a) this Trust Agreement, (b) the latest summary
     plan description, (c) the latest annual report, (d) the applicable collective bargaining agree-
     ment, and (e) any other contracts or instruments under which the employee pension bene-
     fit plan is established or operated available for examination by participating employees or
     their beneficiaries in the Trust Fund office as required by Section 104(b)(2) of the
     Employee Retirement Income Security Act of 1974.
           The Trustees shall upon written request by any participating employee or beneficiary,
     furnish to the participating employee or beneficiary a copy of (a) this Trust Agreement,
     (b) the latest updated summary plan description, (c) the latest annual report, (d) any termi-
     nal report, (e) the applicable collective bargaining agreement, and (f) any other contracts
     or instruments under which the employee pension benefit plan is established or operated,

                                               — 17 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                       Page 35
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 27 of 78 Page ID #:36




    as required by Section 104(b)(4) of such Act. Such copies shall be furnished within thirty
    (30) days of the request. The Trustees may impose a reasonable charge for such copies as
    may be allowed by regulation of the Secretary of Labor.
          The Trustees shall also, upon written request by a participating employee or benefi-
    ciary, furnish to the participating employee or beneficiary a copy of a) any periodic actu-
    arial report (including any sensitivity testing received by the Trust Fund for any Plan Year
    which has been in the Trust Fund’s possession for at least 30 days, b) a copy of any quar-
    terly, semi-annual or other financial report prepared for the Trust Fund by any Fund
    Investment Manager or advisor or other fiduciary which has been in the Trust Fund’s pos-
    session for at least 30 days, and c) any application filed with the Secretary of the Treasury
    requesting an extension under Section 304 of the Act or Section 431 (d) of the Internal
    Revenue Code of 1986, as required by Section 101(k) of the Act subject to any limitations
    imposed by Section 101(k) with regard to individually identifiable information and pro-
    prietary information. Such copies shall be furnished within 30 days of the request but only
    one copy of any report or application may be received during one 12 month period. The
    Trustees may impose a reasonable charge to cover copying, mailing and other costs of fur-
    nishing copies of the information as may be allowed by regulations of the Secretary of
    Labor. This provision also applies to the participating employers and labor organizations.
    21. Procedure for Establishing Funding Policy
          As required by Section 402(b)(l) of the Employee Retirement Income Security Act of
    1974, the Trustees shall meet periodically with the administrative manager, enrolled actu-
    ary, independent qualified public accountant, investment manager or managers (if any),
    and such other Trust Fund advisers as may be appropriate for the purpose of anticipating
    the short and long run financial needs of the Trust Fund and of establishing an appropri-
    ate funding policy and method for the Trust Fund.
        The funding policy and method shall be considered by the Trustees, or by their invest-
    ment manager or managers (if any), in the management of trust fund investments.
    22. Payments to Pension Benefit Guaranty Corporation
          The Trustees shall pay to the Pension Benefit Guaranty Corporation the plan termina-
    tion insurance premiums fixed by the Corporation, as required by Section 4002(a) of the
    Employee Retirement Income Security Act of 1974. Such premiums shall be chargeable
    to the Trust Fund. Consistent with regulations issued by the Corporation, the Trustees shall
    have the authority to adopt a definition of a plan “participant” and to compute and pay pre-
    miums on the basis of that “definition”.
    23. Benefit Claim and Review Procedures
         The Trustees shall establish administrative procedures whereby a participating
    employee or beneficiary who makes a claim for benefits and that claim is denied, is noti-
    fied, in writing, of the reasons for such denial including specific references to the
    Retirement Benefit Plan provisions upon which the denial is based, a description of any
    additional information which is necessary to perfect the claim and why the information is
    necessary, and which afford such a participating employee or beneficiary a reasonable
    opportunity for a full and fair review, as required by Section 503 of the Employee
    Retirement Income Security Act of 1974. Such procedures shall include the Benefit Claim



                                             — 18 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 36
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 28 of 78 Page ID #:37




     and Review Procedures for a participating employee or beneficiary as set out in Article
     XIII, Section 5 of the Retirement Benefit Plan
                              ARTICLE VII
          ALLOCATION OR DELEGATION OF TRUSTEE RESPONSIBILITIES
     1.    Allocation of Responsibilities to Committees
          The Trustees may allocate to one or more committees of Trustees all or part of the
     following responsibilities, with full power to act: (a) the responsibility for managing the
     Trust Fund investments (if not otherwise delegated to a qualified investment manager); (b)
     the responsibility for reviewing and determining benefit claims of participating employees
     and their beneficiaries; (c) the responsibility for conducting hearings and issuing determi-
     nations as provided for in Article XI, Section 3 hereof; (d) the responsibility for resolving
     questions or problems that may be encountered in connection with payroll auditing or
     employer withdrawal liability activities; (e) the responsibility for resolving questions or
     problems that may be encountered in connection with the collection of delinquent employ-
     er accounts; (f) the responsibility for resolving questions or problems that may be encoun-
     tered in connection with the day-to-day work of the administrative manager; (g) the
     responsibility for reviewing the performance of the qualified investment managers (if
     any), and of the other persons retained by the Trustees.
           In the event the Trustees elect to allocate any of the stated responsibilities they shall
     do so by the adoption of a motion or resolution calling for the appointment of a commit-
     tee of Trustees (consisting of equal numbers of Employer Trustees and Labor Organization
     Trustees) and specifying the particular responsibility that is being allocated. With respect
     to the responsibility that is allocated, the committee shall have the powers of the full Board
     of Trustees. Any action to be taken by the committee shall be determined according to the
     voting formula contained in Article IV, Section 1 hereof. If the committee members dead-
     lock on any matter submitted for their consideration such matter shall be referred to the
     full Board of Trustees for review and action.
          Nothing contained herein shall in any way limit the authority of the Trustees to cre-
     ate additional committees for the purpose of assisting with or expediting the affairs of the
     Trust Fund, provided that any such committee shall be empowered only to make recom-
     mendations with respect to the matters referred to it.
     2.    Delegation of Investment Responsibilities
          The Trustees may delegate all or part of their responsibilities for the management of
     the Trust Fund investments to one or more qualified investment managers, as that term is
     defined in Section 3(38) of the Employee Retirement Income Security Act of 1974, i.e.,
     (a) an investment adviser registered as such under the Investment Advisers Act of 1940,
     (b) a bank as defined in that Act, or (c) an insurance company qualified to manage,
     acquire, or dispose of employee benefit plan assets under the laws of more than one state.
          In the event the Trustees elect to delegate investment responsibility they shall do so
     by the adoption of a motion or resolution making the delegation to a designated invest-
     ment manager(s). The delegation shall be effective when the investment manager(s)
     accepts the delegation and acknowledges in writing his status as a fiduciary with respect
     to the Trust Fund.

                                               — 19 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                      Page 37
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 29 of 78 Page ID #:38




    3.   Delegation of Other Responsibilities
         The Trustees may delegate all or part of their responsibilities with respect to the
    administration of the Trust Fund or the Retirement Benefit Plan (except investment
    responsibilities) to their administrative manager or to any other person whom they may
    designate for such purpose.
         In the event the Trustees elect to delegate a particular responsibility they shall do so
    by the adoption of a motion or resolution making the delegation to a designated person.
    The delegation shall be effective when the designated person accepts the delegation. If the
    delegation involves a responsibility other than one which is ministerial in nature, the des-
    ignated person shall also acknowledge in writing his status as a fiduciary with respect to
    the Trust Fund.
    4.   Review of Performance
         In the event the Trustees elect to allocate or delegate Trustee responsibilities they
    shall periodically review the performance of the persons to whom such responsibilities
    have been allocated or delegated.




                                             — 20 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 38
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 30 of 78 Page ID #:39




                                       ARTICLE VIII
                                     TRUSTEE POWERS

     1.   General Powers
          Except as may be expressly limited by the terms of this Trust Agreement, the Trustees
     shall have full and exclusive authority to control and administer the Trust Fund and the
     Retirement Benefit Plan.
          The authority of the Trustees encompasses not only the specific powers recited in the
     various paragraphs of this Trust Agreement but also includes the general power to do all
     things and take all actions, including the expenditure of Trust Fund monies, which they
     may deem necessary to carry out the purpose of this Trust Agreement. The Trustees may
     implement their powers through the adoption of appropriate motions, resolutions, or
     administrative rules and regulations. Unless otherwise stated in this Trust Agreement, the
     Trustees will serve as fiduciaries in the creation, the administration and design of the
     Benefit Plan hereunder and in the implementation of any action resulting from these func-
     tions or in the exercise of any other general or specific power set out in this Trust
     Agreement.
     2.   Specific Powers Discretionary
          The recitation of specific powers in this Trust Agreement shall not be interpreted as
     compelling the exercise of any such power. The exercise of specific powers is discre-
     tionary with the Trustees.
     3.   Benefit Plan Being Administered
          The employee pension benefit plan being administered through this Trust Fund as of
     the effective date of this Trust Agreement is described as the
                                       GCIU—Employer
                                     Retirement Benefit Plan
     4.   Amendments to the Benefit Plan
          The Trustees shall have the authority to amend the Retirement Benefit Plan, in whole
     or in part, as they may determine. Such amendments may involve the rules under which
     participating employees and beneficiaries become eligible for pension benefits, the nature
     of the pension benefits to be provided, including any related benefits, and the amount and
     duration of such benefits.
          No amendment shall be made if the same is prohibited by the provisions of the
     Employee Retirement Income Security Act of 1974 or the Internal Revenue Code and, if
     the subject matter is governed by the Act, or the Code, the amendment shall conform to
     the requirements of the Act or the Code.
     5.   Means of Providing Benefits
          The Trustees may provide the benefits specified in the Retirement Benefit Plan, in
     whole or in part, directly from the Trust Fund or may contract with an insurance carrier or
     other legally authorized entity, to underwrite or provide such benefits.


                                             — 21 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                  Page 39
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 31 of 78 Page ID #:40




    6.    Facility of Payment
         The Trustees shall have the authority to adopt rules by the terms of which benefit pay-
    ments owing to minors or incompetents may be paid instead to a person or institution pro-
    viding care or other services to such minor or incompetent, even though a legal guardian
    ship does not exist. Benefit payments made under any such rules shall fully discharge the
    Trust Fund’s obligation to the minor or incompetent.
    7.    Administrative Manager
         The Trustees shall have the authority to retain, at the expense of the Trust Fund, an
    administrative manager to assist the Trustees in the administration of the Trust Fund and
    the Retirement Benefit Plan. Such administrative manager may be retained on a contract
    or salaried basis, as the Trustees may determine.
         In the event the Trustees employ a salaried administrative manager they shall also
    have the authority to employ such additional administrative staff personnel as may be nec-
    essary.
          The Trustees shall periodically review the performance of the administrative manag-
    er.
    8.    Banking Services
         The Trustees shall have the authority to retain, at the expense of the Trust Fund, one
    or more banks or similar financial institutions supervised by the United States or a state,
    to perform depository or custodial services, or to serve as corporate trustee or co-trustee,
    on behalf of the Trust Fund.
         The Trustees shall periodically review the performance of the banks which they have
    retained to provide banking services.
    9.    Other Professional and Non-Professional Persons
         The Trustees shall have the authority to retain, at the expense of the Trust Fund, actu-
    aries, attorneys, employee benefit plan consultants, investment managers, investment per-
    formance analysts, payroll auditors, collection agents, and other professional or non-pro-
    fessional persons, as they may deem necessary. Unless limited by the provisions of the
    Employee Retirement Income Security Act of 1974, the retention of any such profession-
    al or non-professional help may be on a contract or salaried basis, as the Trustees may
    determine.
         The Trustees shall periodically review the performance of the professional or nonpro-
    fessional persons they have retained.
    10. Obtaining of Necessary Premises, Equipment, and Supplies
         The Trustees shall have the authority to purchase or lease suitable premises and
    equipment and to purchase materials and supplies, at the expense of the Trust Fund, as
    they may deem necessary.
    11. Insurance
          The Trustees shall have the authority to purchase policies of insurance (liability,
    property damage, casualty, and errors and omissions) to protect the Trust Fund and to pro-
    tect themselves, their administrative manager, and their employees (if any), with respect


                                             — 22 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 40
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 32 of 78 Page ID #:41




     to their activities on behalf of the Trust Fund, as they may deem necessary. The costs of
     such insurance policies shall be chargeable to the Trust Fund.
           Any policy of errors and omissions insurance shall contain a recourse clause as
     required by Section 410(b)(l) of the Employee Retirement Income Security Act of 1974,
     provided that nothing herein shall prevent a Trustee (or an employer, employer associa-
     tion, or labor organization acting on his behalf) or the administrative manager, or the Trust
     Fund employees (if any) from purchasing for themselves a waiver of the recourse clause
     or a separate policy insuring against such recourse.
     12. Borrowing Money
         The Trustees shall have the authority to borrow money for the Trust Fund, with or
     without security, as they may deem necessary.
     13. Reserve Funds
          The Trustees shall have the authority to maintain reasonable reserve funds, for future
     contingencies, as they may deem necessary.
     14. Payment of Taxes
          The Trustees shall have the authority to pay, at the expense of the Trust Fund, all real
     and personal taxes, and other taxes and assessments of any kind, which may be lawfully
     levied or assessed against the Trust Fund.
     15. Refunds of Contributions Erroneously Paid
          The Trustees shall have the authority to adopt rules by the terms of which refunds of
     contributions may be made to a participating employer where the employer has paid such
     contributions in error, as may be allowed by Section 403(c) of the Employee Retirement
     Income Security Act of 1974.
     16. Penalties for False or Withheld Information
     The Trustees shall have the authority to adopt rules and regulations by the terms of which
     reasonable penalties or forfeitures may be imposed upon participating employees or ben-
     eficiaries who (a) falsify any information requested of them in the administration of the
     Trust Fund and the Retirement Benefit Plan, or (b) fail to provide requested information
     within a reasonable time.
     17. Correction of Errors
           It is recognized and acknowledged by all parties that the Trustees will provide
     eligibility credits and benefits to participating employees and their beneficiaries based on
     Trust Fund records. It is also recognized and acknowledged that such records could be
     incorrect due to (a) employers reporting individuals who are not eligible for participation,
     (b) employers reporting incorrect names or incorrect social security numbers, (c) employ-
     ers reporting more or less than the hours or contributions required to be reported, (d) delin-
     quent employer reports, (e) employees or beneficiaries submitting incorrect or false bene-
     fit applications, (f) recording or computation errors by the administrative manager, (g)
     computer errors, or (h) other similar circumstances. The Trustees shall have the authority
     to correct the Trust Fund records whenever errors are discovered and to terminate partici-
     pation, adjust eligibility credits or benefits, or seek the recovery of benefit overpayments,



                                              — 23 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                     Page 41
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 33 of 78 Page ID #:42




    as they may determine.
    18. Prosecution of Legal Action or Claims
         The Trustees shall have the authority to originate and maintain any legal actions, or
    claims involving potential legal actions, at the expense of the Trust Fund, as they may
    deem necessary. All such actions and claims shall be prosecuted in the name of the Trust
    Fund or in the name of an assignee.
    19. Defense of Legal Actions or Claims
          The Trustees shall have the authority to defend all legal actions, claims involving
    potential legal actions, and investigatory proceedings, initiated against the Trust Fund or
    against one or more of the Trustees, or former Trustees, or the administrative manager, or
    against one or more of the employees of the Trust Fund (if any) which relate to the admin-
    istration of the Trust Fund or the Retirement Benefit Plan. Except as stated below, the
    defense of such actions, claims and proceedings shall be at the expense of the Trust Fund.
          If the final court decree establishes personal liability on the part of specified Trustees,
    or the administrative manager, or the employees of the Trust Fund (if any) for breach of
    their fiduciary responsibilities, as permitted by Section 409(a) of the Employee Retirement
    Income Security Act of 1974, and orders that the specified persons are to bear the expens-
    es of their own defense, the attorney fees and costs of the specified persons shall not be
    chargeable to the Trust Fund. If attorney fees and costs have already been charged to the
    Trust Fund, the specified persons shall be obligated to repay the Trust Fund for their pro
    rata share of such fees and costs.
    20. Compromise of Legal Actions or Claims
         The Trustees shall have the authority to compromise, settle, or release all legal
    actions, or claims involving potential legal actions, in favor of or against the Trust Fund
    on such terms and conditions as they may determine.
    21. Subscription and Participation Agreements
          The Trustees shall have the authority to create and distribute subscription and partici-
    pation agreements, at the expense of the Trust Fund, and to insist upon the execution and
    filing of such agreements as a condition precedent to the acceptance of contributions.
    22. Participation in Non-Profit Educational Organizations
          The Trustees shall have the authority to participate in non-profit foundations,
    corporations, councils, committees, or other organizations which sponsor educational pro-
    grams or provide educational materials pertaining to the administration of trust funds of
    this nature and of employee benefit plans. If the Trustees act to participate in any such non-
    profit organization, the membership or participation fees of the organization shall be
    chargeable to the Trust Fund.
         The Trustees shall also have the authority to purchase educational materials and to
    provide for the attendance of the Trustees, or of their administrative manager, or of such
    of their employees (if any), as they may designate, at educational conferences and meet-
    ings. The costs of such materials and attendance shall be chargeable to the Trust Fund.
    23. Reciprocity
         The Trustees shall have the authority to enter into reciprocal agreements with other

                                               — 24 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                        Page 42
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 34 of 78 Page ID #:43




     employee pension benefit funds for the exchange of eligibility credits or monies, or for the
     payment of pro rata benefits, on behalf of employees who may terminate their partici-
     pation in the Trust Fund and begin participation in a reciprocal trust fund, and vice-versa.
     24. Mergers
           The Trustees may accept mergers of other employee pension benefit trust funds,
     maintained by participating employers or jointly by participating employers and partici-
     pating labor organizations, into this Trust Fund so that individual participants in such other
     trust funds can become participants in this Trust Fund. To that end, the Trustees shall have
     the authority to negotiate and consummate appropriate merger agreements which provide
     for the transfer of assets and liabilities from other employee pension benefit trust funds to
     this Trust Fund.
           Any such merger agreement shall conform to these standards: (a) the value of the
     retirement benefits assumed by this Trust Fund (as determined on the basis of actuarial
     standards approved by the Trustees) with respect to the participants of the other trust fund
     who had retired prior to the date of the merger agreement shall not exceed the market value
     (determined on the date of transfer) of the assets transferred to this Trust Fund on behalf
     of such retired participants and (b) the value of the aggregate current service credited to
     the participants in the other trust fund who had not retired as of the date of the merger
     agreement shall not exceed one year of current service for each $1,300 (or other amount
     which may be fixed by the Trustees) of market value (determined on the date of transfer)
     of the remaining assets transferred to this Trust Fund on behalf of such participants, after
     allocation for retired participants.
          Any such merger agreement shall also include such requirements as may be applica-
     ble under Section 208 of the Employee Retirement Income Security Act of 1974 and under
     the applicable provisions of the Internal Revenue Code.
     25. Eligible Rollover Plan Distributions
           The Trustees shall have the authority to administer direct trustee-to-trustee transfers
     of eligible rollover plan distributions to financial institutions selected by the participant (or
     spouse or former spouse). The Trustees shall also have the authority to implement any nec-
     essary procedures and policies which are required by the Unemployment Compensation
     Amendment Act of 1992 and any amendments or regulations issued relating thereto in
     order to comply with the Act and regulations.
     26. Interpretation and Application of Documents
          The Trustees shall have the authority to interpret and apply the provisions of this
     Trust Agreement, or of the Retirement Benefit Plan, or of their own motions, resolutions,
     and administrative rules and regulations, or of any contracts, instruments, or writings
     which they may have adopted or entered into.
     27. Adoption and Implementation of a Funding Improvement Plan and Rehabilitation
         Plan
           The Trustees shall have the authority to adopt and implement a funding improvement
     plan and a rehabilitation plan in accordance with the provisions of ERISA Section 305,
     should the enrolled actuary certify that the Retirement Benefit Plan is in endangered or
     critical status. In this regard, the Trustees shall provide the participating employers and


                                                — 25 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                       Page 43
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 35 of 78 Page ID #:44




    participating labor organizations with a schedule or schedules showing revised benefit
    and/or contribution structures which, if adopted, might reasonably be expected to allow
    the Retirement Benefit Plan to achieve applicable funding benchmarks (if the Retirement
    Benefit Plan is in endangered status) or to allow the Retirement Benefit Plan to emerge
    from critical status or to stave off insolvency.
          If upon expiration of a collective bargaining agreement in effect at the time the
    Retirement Benefit Plan entered endangered or critical status, a participating employer and
    the participating labor organization are unable to agree on a new contract that includes
    benefit and/or contribution schedules necessary to allow the Retirement Benefit Plan to
    meet the applicable benchmarks, if the Retirement Benefit Plan is in endangered status, or
    to allow the Retirement Benefit Plan to emerge from critical status, or to stave off insol-
    vency, the Trustees shall have the authority to implement the default schedule as described
    under ERISA Section 305(c)(1) (B)(i) (I) and Section 305 (e)(1)(B)(ii).
    Nothing in this section should be construed as to limit the Trustees’ authority and powers
    under the Trust Agreement or applicable provisions of ERISA.




                                            — 26 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                  Page 44
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 36 of 78 Page ID #:45




                                   ARTICLE IX
                         CONTRIBUTIONS AND COLLECTIONS

     1.   Contribution Reporting Forms
          The Trustees shall create and make available, at the expense of the Trust Fund, contri-
     bution reporting forms for the use of participating employers in making their contribu-
     tions.
     2.   Contributions Due
          Contributions shall be made on all hours worked or paid for, as required by the terms
     of the collective bargaining agreement. Hours worked include overtime hours. Hours paid
     for generally include vacation, sick, holiday, and probationary hours, whether specifically
     included in the collective bargaining agreement, or not.
     3.   Contribution Due Date
         All contributions shall be due by the fifteenth (15) day of the month following the
     month in which they accrue.
     4.   Delinquent Contributions
          A participating employer shall be considered to be delinquent in the payment of
     contributions if he (a) fails to submit a contribution reporting form, and the contributions
     detailed therein, by the close of business on the due date, or (b) fails to submit contribu-
     tions on behalf of all the employees for whom contributions are required under the appli-
     cable collective bargaining agreement, subscription agreement, or participation agree-
     ment, or (c) fails to properly compute the contributions according to the required contri-
     bution formula specified in the applicable collective bargaining agreement, subscription
     agreement, or participation agreement.
          The Trustees shall undertake reasonable efforts to collect known delinquent contribu-
     tions and related claims.
     5.   Audit of Employer Books and Records
          The Trustees shall have the authority to audit the payroll books and records of a
     participating employer, either directly or through a qualified public accountant, as they
     may deem necessary in the administration of the Trust Fund. Such payroll audit may be
     undertaken pursuant to a routine payroll audit program or on a case by case basis, as the
     Trustees may determine.
          Whenever a payroll audit is authorized, the participating employer involved shall
     make available to the Trustees, or the qualified public accountant designated by them, its
     payroll books and records. Such books and records shall include (a) all records which the
     employer may be required to maintain under Section 209(a)(l) of the Employee
     Retirement Income Security Act of 1974, and (b) time cards, payroll journals, payroll
     check registers, cancelled payroll checks, copies of the employer’s federal, state, and local
     payroll tax reports, and all other documents and reports which reflect the hours and wages
     or other compensation of the employees or from which such can be verified (or electron-
     ic versions thereof).


                                              — 27 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 45
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 37 of 78 Page ID #:46




         In the event the payroll audit discloses that the participating employer has not paid
    contributions, as required by the applicable collective bargaining agreement, subscription
    agreement, or special agreement, the employer shall be liable for the costs of the audit.
    6.   Liquidated Damages, Attorney Fees, Interest, and Other Charges
          It is recognized and acknowledged by all parties, including the participating employ-
    ers, that the prompt and accurate payment of contributions is essential to the maintenance
    of an employee benefit trust fund and benefit plan and that it would be extremely difficult,
    if not impossible, to fix the actual expense and damage to the trust fund and plan which
    would result from the failure of a participating employer to pay the required contributions
    within the time provided.
          Therefore, if an employer is delinquent in the payment of contributions by the tenth
    (10th) day following the contribution due date, or by such other date as the Board of
    Trustees may from time to time establish, the delinquent employer shall be liable, in addi-
    tion, for liquidated damages of ten percent (10%) of the amount of the contributions which
    are owed, or twenty five dollars ($25), whichever is greater.
         If the delinquent contributions or liquidated damages are not paid by the tenth (10th)
    day of the month following the month in which they were due, or by such other date as the
    Board of Trustees may from time to time establish, the account will be referred to legal
    counsel, or a collection agent, for collection. Upon such referral, the delinquent employer
    shall be liable for reasonable attorney fees and for reasonable costs incurred in the collec-
    tion process, including court fees, audit fees, etc. In addition, delinquent contributions
    shall bear interest at the rate of ten percent (10%) per annum until paid, computed from
    the contribution due date.
    7.   Additional Liquidated Damages in Event of Court Judgment
          In the event it is necessary to pursue a collection to a court judgment, the delinquent
    employer shall be liable for additional liquidated damages of ten percent (10%) of the
    amount of the contributions which are owed, making a total of twenty percent (20%). As
    provided in Section 515 of the Employee Retirement Income Security Act of 1974, as
    amended, the employer shall, if a judgment is entered, be obligated to the Trust Fund for
    the unpaid contributions, interest on the unpaid contributions, liquidated damages of twen-
    ty percent (20%), reasonable attorney’s fees and costs, and such other legal or equitable
    relief as may be appropriate.
    8.   Waiver of Charges
         The Trustees shall have the authority to waive all or part of the payroll audit costs,
    liquidated damages, interest, attorney fees, or collection costs, for good cause shown.
    9.   Protection of Employees in Cases of Delinquency
         To protect participating employees and beneficiaries in situations where participating
    employees may be denied pension credits because their employer is delinquent in the pay-
    ment of contributions, the Trustees shall have the authority to extend pension credits to
    such employees.
        The extension of pension credits shall not, however, release the delinquent employer
    from the responsibility for payment of the contributions owed.


                                             — 28 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 46
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 38 of 78 Page ID #:47




     10. Coordination with Provisions in Collective Bargaining Agreements
          In the event the underlying collective bargaining agreement contains provisions relat-
     ing to delinquencies that specify additional remedies, or obligate the delinquent employer
     to greater amounts of liquidated damages, interest, or attorney fees than those set forth
     herein, the Trustees, at their option, may pursue the additional remedies or impose the
     greater charges.
          The Trustees shall not be obligated, however, to pursue the collection of delinquent
     accounts through the grievance-arbitration procedures (if any) provided for in the appli-
     cable collective bargaining agreement.




                                             — 29 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                  Page 47
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 39 of 78 Page ID #:48




                                    ARTICLE X
                          EMPLOYER WITHDRAWAL LIABILITY
    1.     Calculation and Collection of Employer Withdrawal Liability
         As provided in the Multi-Employer Pension Plan Amendments Act of 1980 (PL 96-
    364) (hereafter the Act), in the event a participating employer should withdraw from the
    Trust Fund, the Board of Trustees shall (a) determine the amount of the employer’s with-
    drawal liability (if any), (b) notify the employer of the amount of the withdrawal liability
    and (c) collect the amount of withdrawal liability from the employer. In carrying out this
    responsibility the Board of Trustees shall apply the terms and provisions of the Act, and
    any regulations issued thereunder, provided, however, that the Board of Trustees may from
    time to time adopt alternate methods or formulae as permitted in the Act.
         Sections 2, 3, and 4, set forth hereafter, have been adopted as alternates under the Act.
    2.     Determination of Amount of Unfunded Vested Benefits Allocable to Withdrawing
           Employer
         As allowable under 4211(a) of the Act, the Board of Trustees shall determine the
    amount of unfunded vested benefits allocable to a withdrawing employer in accordance
    with the formula set out in Section 4211(b) of the Act, and any regulations issued thereun-
    der, with the following modifications: (a) the initial pool will be based on the December
    31, 2006 unfunded vested benefit liability, reduced by the value of all outstanding claims
    for withdrawal liability that the Trust Fund can reasonably expect to receive for employ-
    ers withdrawing before 2006, (b) the calculation of subsequent pools established for
    changes in unfunded vested benefits as defined in 4211(b) (2) (B) of the Act will contin-
    ue to reflect the value of all outstanding claims for withdrawal liability that the Trust Fund
    can reasonably expect to receive for employers withdrawing before 2006, and (c) in any
    Plan year where the unfunded vested benefit liability at the end of the prior year is zero,
    the unfunded vested benefit liability allocation pools for prior years will be considered
    fully amortized and reset to zero.
        In making such a determination, reasonable actuarial assumptions and methods shall
    be applied as allowable under Section 4213(a)(1) of the Act and as determined by the
    Fund’s actuary.
    3.     Payment of Withdrawal Liability in Monthly Installments
        As allowable under Section 4219(c)(3) of the Act, the annual withdrawal liability
    payments owing to this Trust Fund by a withdrawing employer shall be payable in twelve
    equal monthly installments, due on the first (1st) day of each month, in advance.
    4.     Adoption of Administrative Rules and Regulations
         The Board of Trustees shall adopt administrative rules and regulations relating to the
    processing of employer withdrawal situations.
    5.     Notice of Potential Withdrawal Liability
         As provided in Section 101(1) of the Employee Retirement Income Security Act of
    1974, the Board of Trustees shall, upon written request, furnish to any employer who has
    an obligation to contribute to the Fund (a) a notice of the estimated amount of what would

                                              — 30 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                     Page 48
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 40 of 78 Page ID #:49




     be the employer’s withdrawal liability if the employer withdrew on the last day of the plan
     year preceding the date of the request, and (b) an explanation of how such estimated with-
     drawal liability was calculated, including (i) the actuarial assumptions and methods used
     to determine the value of the Retirement Benefit Plan’s liabilities and assets; (ii) the data
     regarding employer contributions, unfunded vested benefits and annual changes in the
     Retirement Benefit Plan’s vested benefits; and (iii) changes in the application of any rele-
     vant limitations in the estimated withdrawal liability. Such notice shall be furnished to the
     requesting employer within 180 days after the request but in no case shall an employer be
     entitled to receive more than one such notice during any one 12-month period. The Board
     of Trustees shall impose a reasonable charge on each employer requesting such a notice.




                                              — 31 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 49
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 41 of 78 Page ID #:50




                              ARTICLE Xl
         BENEFIT CLAIM, HEARING AND ARBITRATION PROCEDURES

    1.    Hearings Required
          The Trustees shall afford a hearing to any participating employer, employer association,
    or labor organization who is aggrieved by any decision or action of the Trustees, or of the
    administrative manager acting on their behalf. The aggrieved party may present the appeal
    in person, or through a representative, or by written submission.
          It shall be the obligation of any such person to exhaust the hearing procedures specified
    in this Article before instituting final and binding arbitration concerning any such decision
    or action.
    2. Requests for Hearings
          Any person seeking a hearing shall make a request therefore, in writing, within sixty
    (60) days after being apprised of, or learning of, the complained of decision or action. All
    such requests shall be addressed to the Trustees and shall be mailed to the Trust Fund’s
    administrative office.
    3. Conduct of Hearings
          Upon receipt of a request for a hearing, the Trustees shall fix a date and place for a hear-
    ing. At the hearing, the complaining person shall be entitled to present his position and any
    witnesses or other evidence in support thereof. The complaining person may be represented
    by an attorney or by any other representative of his choosing. In the alternative, the com-
    plaining person may choose to present his appeal by written submission.
          The Trustees shall, within thirty (30) days following the hearing, issue a written deci-
    sion affirming, modifying, or setting aside the former decision or action.
    4. Hearing Rules
          The Trustees shall have the authority to adopt rules governing the conduct of any such
    hearing.
    5. Arbitration - Mandatory
          If the complaining person is dissatisfied with the written decision of the Trustees, he
    shall have the right to appeal the matter to mandatory, final and binding arbitration in accor-
    dance with the labor arbitration rules or the employee benefit claim rules of the American
    Arbitration Association, provided that he submit a request for arbitration to the Trustees, in
    writing, within sixty (60) days of receipt of the written decision. If an appeal to arbitration
    is requested, the Trustees shall submit to the arbitrator a certified copy of the record upon
    which the Trustees’ decision was made.
          The question for the arbitrator shall be (1) whether the Trustees were in error upon an
    issue of law, (2) whether they acted arbitrarily or capriciously in the exercise of their dis-
    cretion, or (3) whether their findings of fact were supported by substantial evidence. The
    decision of the arbitrator shall be final and binding upon the Trustees, upon the appealing
    party, and upon all other parties whose interests are affected thereby. The expenses of the
    arbitration shall be borne equally by the appealing party and by the Trust Fund, unless oth-
    erwise ordered by the arbitrator.



                                               — 32 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                         Page 50
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 42 of 78 Page ID #:51




     6.   Benefit Claim and Review Procedures for a Participating Employee or Beneficiary
          The Trustees shall provide benefit claim and review procedures for any participating
     employee or beneficiary who has made a claim for benefits and is aggrieved by any deci-
     sion or action of the Trustees, or of the administrative manager acting on their behalf. The
     aggrieved party may present the appeal under the Benefit Claim and Review Procedures
     set out in Article XIII, Section 5 of the Retirement Benefit Plan.
     7. Sole and Exclusive Remedies
          These Benefit Claim, Hearing and Arbitration procedures are the sole and exclusive
     remedies for all complaining persons.




                                             — 33 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                   Page 51
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 43 of 78 Page ID #:52




                                         ARTICLE XII
                                         LIMITATIONS
    1.   Liabilities and Debts of Trust Fund
          No participating employer, employer association, or labor organization, shall be
    responsible for any liabilities or debts of the Trust Fund. This provision, however, shall not
    relate to any liability that may be imposed upon a participating employer under Section
    4971 of the Internal Revenue Code or Title IV of the Employee Retirement Income
    Security Act of 1974, as amended by the Multi-Employer Pension Plan Amendment Act
    of 1990.
    2.   Liabilities and Debts of Participating Parties
         No participating employer, employer association, or labor organization shall, by rea-
    son of their participation in the Trust Fund, become responsible for the liabilities or debts
    of any other participating employer, employer association, or labor organization.
    3.   Personal Liabilities of Trustees and Fiduciaries
         No Trustee or other fiduciary shall incur any personal liability in connection with the
    administration of the Trust Fund or the Retirement Benefit Plan, except for such liability
    that may be established in accordance with Section 409(a) of the Employee Retirement
    Income Security Act of 1974.
          Except as may be required by applicable provisions of such Act, no Trustee or other
    fiduciary shall be held personally liable for any breach of fiduciary responsibilities in con-
    nection with the administration of the Trust Fund or the Retirement Benefit Plan where it
    is established (a) that the responsibilities at issue were lawfully allocated or delegated to
    other Trustees or fiduciaries or (b) that in carrying out the responsibilities at issue the
    Trustee or other fiduciary reasonably relied upon the advice given by the administrative
    manager or by one or more of the professional persons employed by the Trustees.
         No Trustee or other fiduciary shall be personally liable for a breach of fiduciary
    responsibilities if such breach was committed before he became a fiduciary or after he
    ceased to be a fiduciary.
    4.   Judgments Against Trust Fund
          Any money judgment against the Trust Fund shall be enforceable only against the
    Trust Fund entity and shall not be enforceable against any Trustee or other person, unless
    liability against the Trustee or other person, in his individual capacity, is established in
    accordance with Section 409(a) of the Employee Retirement Income Security Act of 1974.
    5.   Participating Parties’ Rights
         Except as specifically provided for in this Trust Agreement or in the Retirement
    Benefit Plan, no participating employer, employer association, labor organization,
    employee, or beneficiary shall have any right, title, or interest in or to the Trust Fund, or
    in or to the contributions, or in or to the benefits provided.
          No participating employee shall be entitled to receive any part of the contributions in
    lieu of the benefits provided through the Retirement Benefit Plan, nor shall a participating
    employee who does not qualify for benefits, or his employer, have any claim to the con-

                                             — 34 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                     Page 52
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 44 of 78 Page ID #:53




    tributions which may have been paid on his behalf.
    6.   Cessation of Participation
          In the event a participating employer, employer association, or labor organization, or
    groups thereof, should cease their participation in the Trust Fund, there shall be no divi-
    sion or allocation of any of the monies or assets of the Trust Fund, except as may be spec-
    ified in the Retirement Benefit Plan or required by law.
    7.   Protection of Trust Fund, Contributions, and Benefits
         No part of the Trust Fund (including the contributions) or the benefits payable under
    the Retirement Benefit Plan, shall be subject in any manner, by a participating employee
    or beneficiary, to anticipation, alienation, sale, transfer, assignment, encumbrance, or
    charge, and any such attempt shall be null and void except as may be required under
    Section 206(d) of the Act, as amended (a QDRO).
         Further, no part of the Trust Fund (including the contributions), or the benefits
    payable under the Retirement Benefit Plan, shall be liable for the debts of a participating
    employee or beneficiary, nor be subject in any manner to garnishment, attachment, lien,
    charge, or any other legal process brought by any person against a participating employee
    or beneficiary, and any such attempt shall be null and void except as may be required
    under Section 206(d) of the Act, as amended (a QDRO).
    8.   Reliance upon Written Documents
         The Trustees may act upon any written letter, report, certificate, instrument, or other
    document submitted to them by any participating employer, employer association, labor
    organization, employee, or beneficiary, or by any other person, where such document
    appears to be genuine and to be signed by the proper person or persons and the Trustees
    shall be under no duty to make any investigation or inquiry as to any statement contained
    in any such document.
    9.   Agents of Trust Fund
         Unless authorized in a motion or resolution of the Trustees, no participating employ-
    er, employer association, or labor organization, nor any individuals employed thereby,
    shall have any authority to act or function for or on behalf of the Trust Fund or as agent
    thereof.
         Likewise, unless authorized in a motion or resolution of the Trustees, no individual
    Trustee or other fiduciary shall have any authority to act or function for or on behalf of the
    Trust Fund or as an agent thereof.




                                             — 35 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                     Page 53
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 45 of 78 Page ID #:54




                                         ARTICLE XIII
                                       MISCELLANEOUS
    1.    Trust Fund Offices
          The Trust Fund shall maintain a principal office and suboffices, where necessary, in
    such locations as the Trustees may determine.
    2. Applicable Laws and Regulations
          This Trust Agreement and the Retirement Benefit Plan shall be interpreted and
    administered in accordance with Section 302(c) of the Labor Management Relations Act
    of 1947, the Employee Retirement Income Security Act of 1974, the Internal Revenue
    Code, and the regulations pertinent thereto, and other applicable statutes and regulations,
    as such statutes and regulations presently exist or as they may hereafter be amended. Any
    omissions or oversights will be resolved in accordnce with the laws and regulations.
          References herein to particular sections of the above mentioned statutes shall include
    any regulations pertinent to such sections and shall encompass any subsequent amend-
    ments to such sections or regulations.
    3. Notices
          Any written notice permitted or required by this Trust Agreement shall be personal-
    ly delivered to the person for whom it is intended or sent to such person, at his residence
    or business address, by first class mail. Any such notice may also be delivered by email,
    facsimile transmission, or other electronic means available as may be allowed by law.
    4. Severability
          If any provision of this Trust Agreement, or of the Retirement Benefit Plan is held to
    be illegal or invalid for any reason, such illegality or invalidity shall not affect the remain-
    ing portions of the Trust Agreement or the Retirement Benefit Plan.
    5. Title — Words
          The titles of the various articles and sections of this Trust Agreement are inserted
    solely for convenience of reference and are not a part of, nor shall they be used to con-
    strue, any term or provision hereof. Whenever any words are used herein in the masculine
    gender they shall be construed as though they were used in the feminine gender, and words
    in singular form shall be construed as though they were used in the plural form, in all cases
    where they would so apply.
    6. Information to be Furnished and Distributed
          To aid the Trustees in the administration of the Trust Fund, the participating employ-
    ers, employer associations and labor organizations shall furnish the Trustees with such
    information as they may determine including (a) copies of collective bargaining agree-
    ments, (b) contribution rates, (c) the identity of employees covered by collective bargain-
    ing agreements, subscription agreements or participation agreements, and their social
    security numbers, (d) reports on compensated hours for all employees who have worked
    in the bargaining unit or as a nonbargaining unit employee whether or not a contribution
    has been paid, (e) reports on all hours or shifts or wages which constitute the basis of the
    contribution made to the Retirement Benefit Plan as provided in the collective bargaining
    agreement, subscription agreement or participation agreement, and (f) reports on actual
    contributions owed broken down by each employee.



                                              — 36 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                       Page 54
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 46 of 78 Page ID #:55




                                 ARTICLE XIV
                          AMENDMENTS AND TERMINATION
    1.   Amendments
         This Trust Agreement may be amended by action of the Trustees, except that the
    Trustees shall make no amendment to Article III without the unanimous written consent
    of the Trustees and the remaining signatory parties (or their successors).
         In the event that the Trustees should propose an amendment to Article III, they shall
    deliver copies thereof to the remaining signatory parties (or their successors). If any sig-
    natory party (or successor thereto) fails, within thirty (30) days, to respond to a written
    request for consent to any such amendment, that signatory party will be deemed to have
    waived its right to act upon such amendment.
    2.   Termination
         This Trust Agreement may be terminated, at anytime, by unanimous action of the
    Trustees and the remaining signatory parties (or their successors).
    3.   Allocation upon Termination
          If the Plan is terminated, all assets remaining in the Trust Fund after the payment of
    all expenses incurred in terminating or administering the Plan will be allocated to the ben-
    efit of participating employees, retired employees, and surviving spouses, according to the
    following order of priority:
         (a) First, the remaining assets shall be allocated equally to (1) benefits in pay status
    three years prior to termination at the lowest benefit level under the plan during the five
    years prior to termination, and (2) benefits which would have been in pay status three
    years prior to termination had the employee been retired (and had his benefits commenced
    then, at the lowest benefit level under the plan during the five years prior to termination.)
         (b) Second, the assets remaining after satisfying the benefits described in section (a)
    above shall be allocated equally to all other benefits guaranteed under Title IV of the
    Employee Retirement Income Security Act of 1974, (irrespective of the limitations on the
    amount of monthly benefits and regardless of the number of plans in which the employee
    participated).
         (c) Third, the then remaining assets shall be allocated equally to all other non-for-
    feitable (vested) benefits under the plan.
        (d) Fourth, the then remaining assets shall be allocated equally to all other benefits
    under the plan.
         If the assets of the Trust Fund applicable to any of the above categories (a) and (b)
    are insufficient to provide fully the amount of the benefits in each category, the benefits
    otherwise payable shall be reduced proportionately.
          If the assets of the Trust Fund applicable to category (c) are insufficient to provide
    fully the amount of the benefits in that category, the assets shall be allocated to the bene-
    fits of individuals which are described in that category on the basis of benefits of individ-
    uals which would have been described in category (c) under the Plan as in effect at the
    beginning of the 5-year period ending on the date of plan termination.

                                             — 37 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                    Page 55
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 47 of 78 Page ID #:56




          If the assets available for allocation under the preceding paragraph are sufficient to
    satisfy in full the benefits described in that paragraph, then for purposes of that paragraph,
    benefits of individuals described in that paragraph shall be determined on the basis of the
    Plan as amended by the most recent Plan amendment effective during such 5-year period
    under which the assets available for allocation are sufficient to satisfy in full the benefits
    of individuals described in the preceding paragraph and any assets remaining shall be allo-
    cated under that paragraph on the basis of the Plan as amended by the next succeeding plan
    amendment effective during such period.
         The amount allocated under any of the priority categories listed above with respect
    to any benefit shall be adjusted for any allocation of assets with respect to that benefit
    under a prior category.
          The amount allocated to each benefit shall be used to provide monthly retirement
    benefit payments through continuance of the Trust Fund, or through a new Trust Fund, or
    for the purchase of insurance annuity contracts; provided that, if the Trustees find that it is
    not practical or desirable under the circumstances to do any of the foregoing, they may
    provide for some other means of disposing of the allocations of the Trust Fund, including
    making payments in cash to the persons for whom such allocations have been made.
         In no event shall any of the remaining monies or assets be paid to or be recoverable
    by any participating employer, employer association, or labor organization.




                                              — 38 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                      Page 56
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 48 of 78 Page ID #:57




                       SIGNATORY PARTIES as of March 25, 1976
     Labor Organization Signatory Parties           Employer Signatory Parties
     International Printing & Graphic               Seattle Post-lntelligencer (Division of
     Communications Union                           Hearst Publishing Company, Inc.)
     By                              Sol Fishko     By                       Gerald W. Hedman
     Title                            President     Title               Director of Personnel &
     Date                       March 25, 1976                                  Labor Relations
                                                    Date                        March 25, 1976
     Printing Specialties and Paper Products
     Unions, IP & GCU                               Seattle Times Company
     By                               Sol Fishko    By                       Harold Fuhrman
     Title                 President, IP & GCU      Title      Vice President & General Mgr.
     Date                       March 29, 1976      Date                      March 25, 1976

     Seattle Web Pressman Local No. 26              Los Angeles Paper Box and Board Mills
     IP & GCU                                       By                 William H. Kewell, Jr.
     By                   George G. Peterson        Title                          President
     Title                2nd V.P. #26 Seattle      Date                     March 25, 1976
     Date                     March 25, 1976
                                                    Bay Area Paper Box Employers
     Los Angeles Commercial Pressmen                By                   Edward H. Moore
     Local No. 78, IP & GCU                         Title                        Secretary
     By                     Frank Calderone         Date                      June 7, 1976
     Title                         President
     Date                    March 25, 1976         Printing Industries Association
                                                    (Union Employers Section - Los Angeles)
                                                    By                              Jerry Maras
                                                    Title                        Representative
                                                    Date                       March 25, 1976




                         SIGNATORY PARTIES as of July 1, 1984
     Graphic Communications International           Graphic Communications Union, Local
     Union (successor to International Printing     No. 404-M (successor to Los Angeles
     & Graphic Communications Union)                Commercial Pressman No. 78, IP & GCU)

     Graphic Communications Union No. 777           Seattle Times Company
     (successor to Printing Specialties and Paper
     Products Union, IP & GCU)                      Bay Area Paper Box Employers

     Seattle Newspaper Pressmen Local No. 26,       Printing Industries Association (Union
     GCIU                                           Employers Section—Los Angeles)




                                             — 39 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                 Page 57
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 49 of 78 Page ID #:58




    Note: On September 9, 1988, the three remaining employer signatory parties, the Seattle
          Times, the Bay Area Paper Box Employers, and the Printing Industries Association
          (Union Employers Section) - Los Angeles, agreed, in writing, to irrevocably and
          unconditionally transfer and assign to the incumbent employer trustees and their
          successors all of their rights and powers under this Trust Agreement and to forever
          resign their positions as employer signatory parties.




                       SIGNATORY PARTIES as of September 1, 1990
    Graphic Communications International          Graphic Communications Union, Local
    Union (successor to International Printing    No. 767-M (successor to Seattle
    & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
    Graphic Communications Union, Local           Graphic Communications Union, Local
    No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
    Communications Union, No. 777)                Commercial Pressmen No. 78, IP & GCU)




                       SIGNATORY PARTIES as of September 1, 1999
    Graphic Communications International          Graphic Communications Union, Local
    Union (successor to International Printing    No. 767-M (successor to Seattle
    & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
    Graphic Communications Union, Local           Graphic Communications Union, Local
    No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
    Communications Union, No. 777)                Commercial Pressmen No, 78, IP & GCU)




                       SIGNATORY PARTIES as of September 1, 2012
    Graphic Communications International          Graphic Communications Union, Local
    Union (successor to International Printing    No. 767-M (successor to Seattle
    & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
    Graphic Communications Union, Local           Graphic Communications Union, Local
    No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
    Communications Union, No. 777)                Commercial Pressmen No, 78, IP & GCU)




                                           — 40 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                                 Page 58
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 50 of 78 Page ID #:59




                           LIST OF TRUSTEES as of January 1, 1976

     Employer Trustees                         Labor Organization Trustees
     Harold Fuhrman                            Sol Fishko
     Charles Woessner                          Robert O’Neil
     Joseph Conley                             Jack McCormick
     Jerry Maras                               Don McCaughan
     Frank Hurlburt                            George Peterson
     William Kewell, Jr.                       Frank Calderone
                                               Wade Moore

     Alternate Employer Trustees               John Millan
     Gerald Hedman                             Floyd F. Lisinski
     Walter Taylor
     O.H. Rieth                                Alternate Labor Organization Trustees
     Lad Sabo                                  George Barnett
                                               George Gates
                                               Cy Quinn

                           LIST OF TRUSTEES as of September 1, 1990

     Employer Trustees                         Labor Organization Trustees
     Joseph Conley                             James Western
     Harold Fuhrman                            George Barnett
     Jerry Maras                               Wade Moore
     O.H. Rieth                                Floyd Lisinski
     Donald Scheiber                           William Roberts
     David Stanger                             James Norton
                                               Gary Dunmire
                                               Robert Bartlett
                                               William Clark

                           LIST OF TRUSTEES as of September 1, 1999

     Employer Trustees                         Labor Organization Trustees
     Joseph Conley                             Frank P. Young
     Harold Fuhrman                            William Clark
     Hugh Gaylord                              John A. Giannone
     Jerry Maras                               Stephen E. Northup
     Thomas E. Phillips                        James J. Norton
     Nate Accardi                              Edward A. Treacy
     Jim Janiga                                John D. Bachler
                                               Alternate Labor Organization Trustees
                                               George Osgood
                                               Ryan Sherard
                                               Paul E. Golden



                                          — 41 —
GCIU-Employer Retirement    Exhibit 1 to Complaint                           Page 59
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 51 of 78 Page ID #:60




    Notes




                                   — 42 —
GCIU-Employer Retirement    Exhibit 1 to Complaint               Page 60
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 52 of 78 Page ID #:61




GCIU-Employer Retirement    Exhibit 1 to Complaint               Page 61
Fund et. al. v. Peak Printing, Inc.
Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 53 of 78 Page ID #:62




GCIU-Employer Retirement    Exhibit 1 to Complaint               Page 62
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 54 of 78 Page ID #:63




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 63
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 55 of 78 Page ID #:64




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 64
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 56 of 78 Page ID #:65




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 65
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 57 of 78 Page ID #:66




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 66
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 58 of 78 Page ID #:67




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 67
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 59 of 78 Page ID #:68




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 68
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 60 of 78 Page ID #:69




GCIU-Employer Retirement              Exhibit 1 to Complaint              Page 69
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 61 of 78 Page ID #:70




                            EXHIBIT 2

GCIU-Employer Retirement              Exhibit 2 to Complaint              Page 70
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 62 of 78 Page ID #:71




                                              AGREEMENT


                                                      Between




                                  ALLEN              PRINTING,           INC.
                                                      Formerly
                          (KARTARIK             GRAPHIC               & PRINTING)


                                                        And




             GRAPHIC   COMMUNICATIONS      CONFERENCE     of the
             INTERNATIONAL     BROTHERHOOD     of TEAMSTERS
                               UPPER         MIDWEST             LOCAL        1-M




                                 Effective   March   31, 2010-March      31, 2013




GCIU-Employer Retirement                      Exhibit 2 to Complaint                Page 71
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 63 of 78 Page ID #:72




                                                            TABLE           OF CONTENTS



                                                                                                                                                                       Page


      ARTICLE 1 -   TERM OF AGREEMENT...........................................................................................................                1
      ARTICLE 2 -   COVERAGE OF AGREEMENT ................................................................................................                      1
      ARTICLE 3 -   WORK WEEK HOURS...............................................................................................................1
      ARTICLE 4 -   HOLIDAYS..................................................................................................................................2
      ARTICLE 5 -   VACATION     SCHEDULE ...........................................................................................................2
      ARTICLE 6 -   WAGES........................................................................................................................................
                                                                                                                                                                3
      ARTICLE 7 -   UNION LABEL............................................................................................................................3
      ARTICLE 8 -   PENSION .....................................................................................................................................            3
      ARTICLE 9 -   MISCELLANEOUS.....................................................................................................................4
                                      )




      ARTICLE 10-    CONTINUITY               OF AGREEMENT                   ............................................................................................5




GCIU-Employer Retirement                                     Exhibit 2 to Complaint                                                                           Page 72
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 64 of 78 Page ID #:73


                                                               AGREEMENT

                                                                         Between


                                               ALLEN                   PRINTING,            INC.
                                                                         Formerly
                                        (KARTARIK                      GRAPHIC       & PRINTING)

                                                                           And


                 GRAPHIC       COMMUNICATIONS     CONFERENCE     of the INTERNATIONAL
                                      BROTHERHOOD     of TEAMSTERS
                                             UPPER          MIDWEST                 LOCAL     1-M


                                       Effective       March 31, 2007-March                  31, 2010


      This Contract is made and entered into by and            between Allen   Printing Inc. (Formerly Kartarik Graphics)St. Paul,
      Minnesota, hereinafter called the "Employer"              and GCC/IBT Upper Midwest Local 1-M, a subordinate union
      chartered by and under the jurisdiction    of            the Graphic Communications        Conference of the International
      Brotherhood of Teamsters whose headquarters                are at Washington, DC, by the officers duly authorized to act in its
      behalf, hereinafter called the "Union."

                                       ARTICLE             1   -       TERM       OF AGREEMENT


                           Terms and Provisions of this contract shall be effective from March 31, 2010 throughmidnight
                 March 31, 2013. This contract shall renew itself automatically each expiration date for an
                 additional one year (1-year) term, provided neither party to this agreement serves written notice
                 on the other party of desire to change or modify this agreement. The time for such notification
                 shall be no later than sixty (60) days prior to the expiration date of this contract.



                                   ARTICLE         2   -   COVERAGE                 OF AGREEMENT


               Section 1. Employees covered by this agreement shall be those in the following departments: Letterpress,
      Bindery, and Offset including Camera Operation, all Darkroom Work, Stripping, Opaquing, Platemaking, Layout
      and PasteUp.


                 Section 2. All employees   covered by this agreement shall make application
                                                                                       for membership in the Union
      after thirty (30) days from commencement of employment and as a condition of employment shall maintain their
     membership in the Union. To comply with the provisions of this section, union membership is required only to
     the extent that employees must pay the Union's periodic dues and initiation fees.



                                        ARTICLE            3       -   WORK       WEEK      HOURS


               Section 1. A week's work, both days and nights, shall consist of minimum                    of forty   (40) hours of
     consecutive eight (8) hour days.



     Allen   Printing   Inc.                                                  1
GCIU-Employer Retirement
     03/31/10-03/31/2013                               Exhibit 2 to Complaint                                             Page 73
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 65 of 78 Page ID #:74



              Section 2. Hours of Work: "Days work" shall be defined as any eight (8)hours                    of labor, the majority   of
      which has been worked between 6:00 a.m. and 6:00 p.m.


              Section 3. Two (2) fifteen minute (15-minute)   breaks will occur during every eight hour (8-hour) shift
      and one fifteen minute (15-minute) break every four (4)hours worked thereafter. They are to be considered time
      worked      within   the shift. Time placement   of these breaks need not interfere         with production.


                 Section 4. Any employee who is or becomes handicapped by reason of advanced age, or physical
      disability, may be retained as an employee in the same shop at a rate of wages mutually agreed upon between the
      employee affected and a representative of the Union and the Employer.

                  Section 5. All work in excess of forty (40)hours          per week shall be at the rate of one and one-half     (1½)
      times the regular    rate.

              Section 6. All overtime is mandatory when notified                 before closing    of the previous    day. Mandatory
      overtime shall not exceed twelve (12) hours per day.



                                                  ARTICLE          4   -   HOLIDAYS


              Section 1. Day or night work done on Sunday shall be paid for at the rate of double time. Day or night
     work done on New Year's Day, Fourth of July, Memorial Day, Labor Day, Thanksgiving Day, Christmas Day, or
     days celebrated as such, shall be paid for at the rate of two and one-half (2½) times the straight time hourly rate.

              Section 2. When no work is performed on the above-enumerated       six (6)holidays or days celebrated as
     such, employees shall receive eight (8)hours pay at their regular straight time hourly rate. The Employer shall
     have the privilege of working employees on such holidays if necessary, in which payment shall be made in
     accordance with the provisions of Section 1.


              Section 3. A compensating day shall be granted each employee whose day off or vacation day falls on
     one of the six named holidays. When possible the employee's preference or compensating day willbe considered.
      If a compensating day cannot be granted, it shall be paid for.

               Section 4. An employee must have been on the payroll thirty (30) consecutive calendar days or more
     prior to and following the holiday. Absence from either or both such shifts, by mutual agreement, shall not
     disqualify them from receiving holiday pay.




                                         ARTICLE        5   -   VACATION          SCHEDULE


             Section 1. All employees covered by this contract who have been continuously             employed by the
     Employer shall be entitled to one week vacation at regular pay on the first anniversary of their employment, to be
     accumulated at the rate of one (1) day for every two (2) months worked to a maximum of five (5) days.

                 Section   2. All employees covered by this contract who have been continuously           emp,loyed by the
     Employer       shall be entitled to two weeks vacation at the regular pay on the second anniversary ofthe employment.

                 Section 3. All employees covered by this contract              who have been continuously           employed by the


     Allen   Printing   Inc.                                           2
GCIU-Employer         Retirement
    03/31/10-03/31/2013                                Exhibit 2 to Complaint                                                Page 74
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 66 of 78 Page ID #:75


     Employer shall be entitled          to three (3) weeks vacation          at the regular     pay on the sixth (6*) anniversary      of their
     employment.


                  Section  4. All employees covered by this contract who have been continuously          employed by the
     Employer       shall be entitled to four (4) weeks vacation at the regular pay on the tenth (10*) anniversary of their
     employment.

                  Section 5. Vacation schedules shall be arranged between the employee and the Foreperson. Insofar as
     efficiency    of plant operation will permit, employee's choice of dates shall be given consideration. Seniority shall
     determine      first preference of dates.


                  Section 6. Vacations may be scheduled anytime during the year with the Foreperson's approval. Once a
     vacation      is scheduled and agreed upon by the Foreperson, it shall not be changed without the consent of the
     employee concerned. In case of termination, all vacation earned but not taken shall be due the employee.



                                                        ARTICLE               6   -   WAGES


              Section 1. Minimum           hourly   wage rates for competent journey               operators   effective   as of dates specified
     shall be as follows:
                                               03/31/11                               03/31/12           03/31/13

                             Prepress          $21.33                                 $21.58            $21.83
                             2/C Ryobi         $23.10                                 $23.35            $23.60
                             Bindery           $16.80                                 $17.05            $17.30




                                                    ARTICLE       7   -   UNION            LABEL


             In consideration of this contract, the Union agrees the Employer shall be entitled to the use of the
    individual label of the Graphic Communications Conference of the International Brotherhood of Teamsters. The
    label number will remain the same as the former Kartarik Graphics.



                                                      ARTICLE             8   -   PENSION


                 1. The Employer and the Union hereby accept, ratify and become bound by the terms of that
                  Section
    certain Trust          and Retirement benefit plan, dated October 1, 1955, as amended, establishing the
                        Agreement
    GCC/IBT Employer Retirement Fund, the same as though they were signatory parties thereto.

                  Section 2. The Employer      shall contribute   monthly             to the GCC/IBT. Employer       Retirement Fund the sum
    of $6.50 per straight time shifts pay earned for each employee covered by this contract. (All employees working
    twenty (20)hours or more per week shall qualify). Said contributions  shall be made in the manner prescribed by
    the Retirement          Fund Committee.


                  Section 3. The Employer agrees to provide the local Union with a copy of the monthly pension report
     containing names of employees and shifts worked.




   Allen Printing Inc.                                                    3
GCIU-Employer Retirement
   03/31/10-03/31/2013                                  Exhibit 2 to Complaint                                                        Page 75
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 67 of 78 Page ID #:76


                                               ARTICLE        9   -   MISCELLANEOUS


               Section 1. It is mutually agreed that employees, when leaving the employ of the Employer shall give two
     (2) full working weeks' notice; and it is further agreed that the Employer shall give to employees two (2) full
     weeks'notice of intent to discharge any employee covered by this agreement; however, it is understood that this
     provision shall not apply to temporary help nor to temporary layoffs of thirty (30) days or less.


               Section 2.


               (a)        A priority   list shall be drawn up as early as possible and approved by both parties of this
                          agreement    and such list shall be on display or copies of list must be available at all times for
                          reference.


               (b)        In the event of a reduction   of the size of the working force, the last employed shall be the first to
                          be laid off.


               (c)        In the event of a subsequent increase in the size of the working force, the employees shall be re-
                          employed in the reverse order.


               (d)        In regard to layoffs and hiring, ability to perform the work shall be considered.

               Section     3. There shall be no strikes or interference with the production, directly or indirectly,     for any
    reason whatsoever          during the term of this agreement.

             Section 4. The employees shall be entitled to the necessary conveniences for the proper performance of
    their work.


              Section 5. Ninety        (90) day probation.

              Section 6. Bereavement         Pay:


              (a)     In the event of the death of a member of a (non-probationary)       employee's immediate family,
                      he/she shall be entitled to absent him/herself from work for three (3)successive calendar days next
                      succeeding the day of death. He/She will e paid for that partition of his/her regular week's work
                      which falls within the above three (3) day period, if he/she were under the terms of this
                      Agreement, scheduled to work. All bereavement pay shall be at straight time rates. In order to
                      qualify for payment under this provision, the employee must actually attend the funeral.


              (b)     "Immediate family" shall mean the employee's spouse, children, father, mother, brother, sister,
                      father-in-law, and mother-in-law.

              (c)     In the event of the death of a grandparent or grandchild, the employee will be entitled to one (1)
                      day's paid bereavement to attend the funeral.




    Allen Printing Inc.                                                4
    03/31/10-03/31/2013
GCIU-Employer Retirement                                Exhibit 2 to Complaint                                          Page 76
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 68 of 78 Page ID #:77


                                    ARTICLE      10   --   CONTINUITY        of AGREEMENT


           The employer agrees that all obligations under this contract and performance thereof, by the
     buyer, lessee, transferee, or assignee, become a condition of sale transfer, lease or assignment.


             IN WITNESS WHEREOF, the parties have set their hands and seal this        Ñ(     day of July 2010.

                                              ALLEN         PRINTING,    INC.


    By:




              GRAPHIC           COMMUNICATIONS              CONFERENCE         of the INTERNATIONAL
                            7           BROTHERHOOD                of TEAMSTERS
                                          U      R MIDWEST           LOCAL     1-M




            G        eO g
    Its:    President



    By:
              obert Dean Stanton
    Its:    Secretary-Treasurer




              GRAPHIC           COMMUNICATIONS              CONFERENCE         of the INTERNATIONAL
                                        BROTHERHOOD                of TEAMSTERS



    By:
            George Tedeschi
    Its:    President




    The approval by the Conference President          of this Contract does not, under any circumstances, make the
    International    a party to this Contract nor responsible for its observance or for any breach thereof.




    Allen Printing   Inc.                                      5
GCIU-Employer
   03/31/10-03/31/2013Retirement                 Exhibit 2 to Complaint                                   Page 77
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 69 of 78 Page ID #:78




                            EXHIBIT 3

GCIU-Employer Retirement              Exhibit 3 to Complaint              Page 78
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 70 of 78 Page ID #:79




GCIU-Employer Retirement              Exhibit 3 to Complaint              Page 79
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 71 of 78 Page ID #:80




GCIU-Employer Retirement              Exhibit 3 to Complaint              Page 80
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 72 of 78 Page ID #:81




GCIU-Employer Retirement              Exhibit 3 to Complaint              Page 81
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 73 of 78 Page ID #:82




GCIU-Employer Retirement              Exhibit 3 to Complaint              Page 82
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 74 of 78 Page ID #:83




                            EXHIBIT 4

GCIU-Employer Retirement              Exhibit 4 to Complaint              Page 83
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 75 of 78 Page ID #:84




GCIU-Employer Retirement              Exhibit 4 to Complaint              Page 84
Fund et. al. v. Peak Printing, Inc.
   Case 2:23-cv-04712-AB-SK Document 1-1 Filed 06/15/23 Page 76 of 78 Page ID #:85




                            EXHIBIT 5

GCIU-Employer Retirement              Exhibit 5 to Complaint              Page 85
Fund et. al. v. Peak Printing, Inc.
  Case 2:19-cv-08505-GW-KES
  Case 2:23-cv-04712-AB-SK Document
                            Document1-124 Filed
                                           Filed06/15/23
                                                 03/24/20 Page
                                                           Page771 of
                                                                   of 78 PageID
                                                                      2 Page  ID#:276
                                                                                 #:86
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                                      UNITED STATES DISTRICT COURT
    9
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                          )
  11    GCIU-EMPLOYER RETIREMENT          ) CASE NO. CV 19-8505-GW-KESx
        FUND AND BOARD OF TRUSTEES        )
  12    OF THE GCIU-EMPLOYER              ) JUDGMENT
        RETIREMENT FUND,                  )
  13                                      )
                     Plaintiffs,          )
  14         v.                           )
                                          )
  15
        ALLEN PRINTING, INC., a Minnesota )
                                          )
  16    Corporation,                      )
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  17                                      )
                     Defendant.
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GCIU-Employer Retirement                                1
                                         Exhibit 5 to Complaint             Page 86
Fund et. al. v. Peak Printing, Inc.        [PROPOSED] JUDGMENT
  Case 2:19-cv-08505-GW-KES
  Case 2:23-cv-04712-AB-SK Document
                            Document1-124 Filed
                                           Filed06/15/23
                                                 03/24/20 Page
                                                           Page782 of
                                                                   of 78 PageID
                                                                      2 Page  ID#:277
                                                                                 #:87




    1         JUDGMENT IS HEREBY ENTERED in favor of Plaintiffs against Allen Printing,
    2   Inc., in accordance with the terms of the Court’s ruling granting Plaintiffs’ motion for
    3   default judgment (ECF No. 22).
    4           The Court AWARDS Plaintiffs: (1) $722,679 in withdrawal liability. (2)
    5   $42,914.30 in prejudgment interest on the liability, (3) $18,911.87 in attorneys’ fees, and
    6   (4) $1,720.50 in costs.
    7   ///
    8   ///
    9           The Court also DISMISSES Plaintiffs’ second cause of action for payroll audit
  10    documents.
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  12    Dated: March 24, 2020
  13                                            HON. GEORGE H. WU, U.S. District Judge
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GCIU-Employer Retirement                             2
                                      Exhibit 5 to Complaint                       Page 87
Fund et. al. v. Peak Printing, Inc.     [PROPOSED] JUDGMENT
